 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 1 of 118

     Thomas H. Schelly (Bar No. 217285)
     Kevin A. Lipeles (Bar No. 244275)
 2   Ralph A. Kottke (Bar No. 287363)
     LIPELES LAW GROUP, APC
 3   880 Apollo Street, Suite 336
     El Segundo, California 90245
 4   Telerhone: (310) 322-2211
     Facsimile: (310) 322-2252
 5
 6   Attorney for Claimant,
     Brent Lindsey
 7
                                UNITED ST ATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10   BRENT LINDSEY, an individual,
11
                                 Claimant,               CASE NO.: 2:19-cv-01855-KJM-CKD
12
          V.
13                                                       DECLARATION OF RALPH A.
     TRAVELERS COMMERICIAL                               KOTTKE IN SUPPORT OF
14
     INSURANCE COMPANY, Inc. a                           PLAINTIFF'S PETITION TO VACATE
15   Connecticut corporation, et al.                     ARBITRATION AWARD

16                       Respondents.
17
                                                         Action Filed: July 17, 2019
18

19

20

21

22
23
               I, Ralph A. Kottke, declare:
24
25   1.        I am an attorney licensed to practice law in the State of California. I am an attorney

26   with Lipeles Law Group, APC, which is attorney ofrecord for Plaintiff Brent Lindsey. The

27   statements contained in this declaration are true and they are of my own personal knowledge. If

28   called upon, I could competently testify thereto.




                           DECLARATION OF RALPH A. KOTTKE IN SUPPORT OF
                         PLAINTIFF'S PETITION TO VACATE ARBITRATION AWARD
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 2 of 118

     2.     Attached hereto as Exhibit A are true and correct copies of relevant portions of the

 2   Plaintiff's Responses to Form Interrogatories - General Set One.
 3   3.     Attached hereto as Exhibit B are true and correct copies of relevant portions of the
 4   Plaintiff's Complaint.

 5   4.     Attached hereto as Exhibit C are true and correct copies of relevant portions of the
 6   Notice of Deposition of Respondent Travelers Person Most Knowledgeable (draft)
 7   5.     Attached hereto as Exhibit Dare true and correct copies of Discovery Order No. 1.
 8   6.     Attached hereto as Exhibit Eis a true and correct copy relevant portions of Ruling on
 9   Motion for Summary Judgment.

10   7.     Attached hereto as Exhibit F is a true and correct copy of relevant portions of
11   Performance Evaluation of 2015.

12   8.     Attached hereto as Exhibit G is a true and correct copy of relevant portions of
I3   Perfo1mance Evaluation of 20 l 6.

14   9.     Attached hereto as Exhibit H is a true and correct copy of relevant portions of
15   Performance Evaluation of 2017.
16   10.    Attached hereto is Exhibit I which is a true and correct copy of Brent Lindsey's
17   Workforce Job Summary.

18   11.    Attached hereto is Exhibit J which is a true and correct copy of Brent Lindsey's pay rate
19   changes due to promotion of 1 l /16/2012, 10/23/2015, and 10/0l/2015.

20   12.    Attached hereto is Exhibit K which are true and correct copies of Brent Lindsey's Merit
21   Raise of 11/0l/2017.

22   13.    Attached hereto is Exhibit L which is a true and correct copy of relevant portions of the
23   deposition of David Gosney.

24   14.    Attached hereto is Exhibit M which is a true and correct copy of the email of Ralph A.

25   Kottke to Arbitrator David Freedman of November 13, 2020.
26   15.    Attached hereto as Exhibit N is a true and correct copy of the email of Arbitrator David
27   Freedman of 1/8/2021 to Ralph Kottke.

28




                                                                                                        2
                         DECLARATION OF RALPH A. KOTTKE IN SUPPORT OF
                       PLAINTIFF'S PETITION TO VACA TE ARBITRA TIO AWARD
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 3 of 118

     16.      Attached hereto as Exhibit O is a true and coJTect copy of Brent Lindsey's Special

 2   Interrogatories to Respondent (Set Two)

 3   17.      Attached hereto as Exhibit P is a trne and correct copy of Brent Lindsey's Request for

 4   Production of Documents (Set Two).

 5   18.      Attached hereto as Exhibit Q is a trne and correct copy of Respondent's Responses to

 6   Mr. Lindsey's Requests for Production (Set Two.) and Answers to Special InteJTogatories (Set

 7   Two).

 8   19.      Attached hereto as Exhibit Risa true and coJTect copy of Mr. Lindsey's Motion to

 9   Compel Responses.

10   20.      Attached hereto as Exhibit S is a trne and correct copy of Case Management Order

11   No. 5.

12   21.      Attached hereto as Exhibit T is a true and co1Tect copy of relevant portions of Ruling on

13   Motion for Summary Judgment.

14   22.      Attached hereto as Exhibit U is a true and coJTect copy of relevant portions of

15   Defendant's Arbitration Agreement.

16   23.      Attached as Exhibit Vis a true and correct copy of relevant portions of the American

17   Arbitration Association Rules Revised 2017.

18   24.      Attached as Exhibit Wis a true and correct copy of the Arbitrator's Award.

19            I make this declaration under penalty of perjury under the laws of the State of Cali fomia

20   that the foregoing is true and con-ect. Executed on April 18, 2021, in El Segundo, California.

21

22
23
                                                    Ralph A. Kottke
24

25
26
27

28



                                                                                                       3
                          DECLARATION OF RALPH A. KOTTKE IN SUPPORT OF
                        PLAINTIFF'S PETITIO TO VACATE ARBITRATION AWARD
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 4 of 118




                             EXHIBITA
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 5 of 118




  1    Kevin A. Lipeles (Bar No. 244 275)
       Thomas H. Schelly (Bar No. 217 285)
  2    LIPELES LAW GROUP, APC
       880 Apollo Street, Suite 336
  3    El Segundo, California 90245
       Telephone: (310) 322-2211
  4    Fax: (310) 322-2252

  5    Attorneys for Claimant,
       BRENT LINDSEY
  6

  7

  8                         AMERICAN ARBITRATION ASSOCIATION
  9
      BRENT LINDSEY, an individual,                   AAA CASE NO. Ol-19-0004-6106
 10
                        Claimant,                      CLAIMANT'S RESPONSES TO
 1l                                                    FORM INTERROGATORRIES FROM
      vs.                                              RESPONDENT (SET ONE)
 12

 13   TRAVELERS COMMERCIAL
      INSURANCE COMP ANY, a Connecticut
 14   corporation; TRAVELERS CASUALTY
      INSURANCE COMP ANY OF AMERICA,
 15   a Connecticut corporation, PEGGY
 16   STEPHENS, an individual; and DOES 1
      through J00, inclusive,
 17
                     Respondents.
 18

 19
             PROPOUNDING PARTY:                 TRAVELERS INDEMNITY COMP ANY
 20
             RESPONDING PARTY:                  BRENT LINDSEY
 21
             SETNO.:                            ONE
 22

 23   FORM INTERROGATORY 200.1
 24          Do you contend that the EMPLOYMENT relationship was at "at will"? If so:
 25          (a) state all facts upon which you base this contention;

 26          (b) state the name, ADDRESS, and telephone number of each PERSON who has
      knowledge of those facts; and
 27
             (c) identify all DOCUMENTS that support your contention.
 28



                        RESPONSE TO FORM INTERROGATORIES- EMPLOYMENT
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 6 of 118




 1           (b) state when and how EMPLOYER first learned of each specific fact;

 2           (c) state the name, ADDRESS, and telephone number of each PERSON who has
      knowledge of the specific facts; and
 3
             (d) identify all DOCUMENTS that evidence these specific facts.
 4
      RESPONSE TO FORM INTERROGATORY 201.2:
 5
             No.
 6
             (a)       NIA
 7           (b)       NIA
 8           (c)       NIA
 9           (d)       NIA

10    FORM INTERROGATORY 201.3

11
             Were there any other ADVERSE EMPLOYMENT ACTIONS, including (the asking
      party should list the ADVERSE EMPLOYMENT ACTIONS): If so, for each action, provide
12
      the following:
13
             (a) all reasons for each ADVERSE EMPLOYMENT ACTION;
14
             (b) the name, ADDRESS, and telephone number of each PERSON who participated in
 15
      making each ADVERSE EMPLOYMENT ACTION decision;
 16          (c) the name, ADDRESS, and telephone number of each PERSON who provided any
 17   information relied upon in making each ADVERSE EMPLOYMENT ACTION decision; and
 18          (d) the identity of all DOCUMENTS relied upon in making each ADVERSE

 19   EMPLOYMENT ACTION decision.
      RESPONSE TO FORM INTERROGATORY 201.3:
 20
             I was denied pay raises normally accorded to Caucasian employees.
 21
             (a)       Race.
 22
             (b)       Dennis Sullivan, Nathan Sentin, Scott Suckey, Lisa Androlina-Amott. Contact
 23
      data unknown; however, Respondent has such data. I made many attempts to get raises. Each
 24   year we would have a performance review. At that time, I would ask for a pay rajse and nearly
 25   every time I was tumed down due to my race. On or about April 2013 I had a review with Scott
 26   Suckey. He turned me down for a raise. He said I did not have enough "exceed expectations"

 27   and so was not "top adjuster." So, no raise. There were 20 adjusters in the department. I later

 28   found out that other Caucasian adjusters were receiving raises without having plentiful "ex-
      ceeds" or being ..top adjuster." I learned from Jason Rasman, Jennifer Rapper and Brittany (last
                                                      s
                          RESPONSE TO FORM INTERROGATORIES· EMPLOYMENT
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 7 of 118



  1   name forgotten). To name a few, all Caucasian, that they received raises without spectacular

  2   perfonnance records or being top adjuster. The next year, on or about April 2014, Lisa Amott
      gave me my review. Again, when Tasked for a raise, Jwas told J did not have enough "ex-
  3
      ceeds" and was not top adjuster, so no raise. On or about April 2015, my review was with Keith
  4
      Peannan. Similarly, he told me I did not have enough "exceeds" and was not the top adjuster.
  5
      He said no raise. In 2015, upset about the denials, I spoke with Kristen Brimmer. As Loss Co-
  6
      ordinator, she had access to pay records of all adjusters. She told me that I needed to complain.
  7   She explained that I was making about $60,000 per year while Caucasian adjusters with no
  8   greater experience or performance records were making $90,000 to $100,000. In April 2016, I
  9   finally got some relief. My perfonnance review was with Joe Salerno. He said I was being

 10   grossly underpaid. He applied for me to receive a cost of living increase to bring my pay into

 11   an acceptable range. On or about April 20 I 7, however, it was back to the old story. My perfor-
      mance review was with Dennis Sullivan. When I asked for a raise, he said no. He said I had no
 12
      "exceeds" and was not top adjuster. So, I received no raise. In April 2018, I bad a performance
 13
      review with Keith Peannan. This time my performance was in such a high range, he could not
 14
      deny me a raise. In eight years at Respondent's that was my only merit raise. In short, for me,
 15
      obtaining a raise was a continual struggle. Meanwhile, Caucasian adjusters were receiving rou-
 16   tine raises without great "exceeds expectations" or "top adjuster" requirements.
 17          (c)     Dennis Sullivan, Nathan Sentin, Scott Suckey, Lisa Androlina-Arnott. Contact
 18   data unknown however Respondent has such data.

 19           (d)    My pay records showing only one merit raise over nearly eight years.
              I was denied promotions to higher paying positions.
 20
              (a)    Race.
 21
              (b)    Peggy Stevens, Keith Peannan. Contact data available from Respondent.
 22
              I applied for a promotion in the property section for Technical Specialist, a position for
 23
      which I was well qualified. I was passed over for a lesser qualified person, John Thanyi, who
 24   was Caucasian. I also applied to be a manager in my department but was rejected.
 25           I also applied many times for jobs outside my department including the Risk Manage-
 26   ment Program and the Underwriting Training Development Program. Each time I was passed

 27   over due to race as I was well qualified, and these were entry level positions.

 28
              (c) Peggy Stevens, Keith Pearman. Contact data available from Respondent.
              (d) Job applications within Respondent's system.
                                                6
                         RESPONSE TO FORM lNTERROGA TORIES - EMPLOYMENT
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 8 of 118




                                                VERIFICATION
     2
     3          I, BRENT LINDSEY,have read the foregoingRESPONSESTO FORM
     4   INTERROGATORRIES- EMPLOYMENT(SET ONE),propounded by respondent
     5   TRAVELERSINDEMNITYCOMPANY, and know the contents thereof. The same is true of
     6   my own knowledge, except as to those matters stated on my infonnation and belief, and, as to
     7   those matters, I am informedand believe them to be true.
     8          I declare under penalty of perjury under the laws of the State of Californiathat the
     9   foregoing is true and correct.
    10
                Executed on
                              Aug 12' 2020 at El Segundo,Cahfom1a.
                                                           . .
    11

    12
                                                 Signature: h,·~:u,.:~,    1,;~ ,-~,,
    13
                                                     Email: brentlindsey5@gmait.com
    14

    15                                                 BRENTLINDSEY,Claimant

    16

    17

    18

    19

    20
    21

    22
    23

    24

    25
    26
    27

    28


                                                  VERIFICATION
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 9 of 118




                              EXHIBITB
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 10 of 118



 I    Kevin A. Lipeles (Bar No. 244 275)
      Thomas H .. Schelly (Bar No. 217 285)
 2    LIPELES LAW GROUP, APC
      880 Apollo Street, Suite 336
 3    El Segundo, California 90245
      Telephone: (31-0)322-22,11
 4    Fax: (310) 322-2252

 5    Attorneys for Plaintiff,
      BRENTLINDSEY
 6

 7                     SUPERIOR COURT OF THE STA TE OF CALIFORNIA

 8                                       COUNTY OF SACRAMENTO
 9
       BRENT LINDSEY, an individual,                           CASE NO.:
10
                           Plaintiff,                          COMPLAINT FOR:
11
       vs.                                                     1. DISCRIMINA TJON BASED ON
12
                                                               PHYSICAL DISABILITY iN
13     TRAVELERS COMMERCIAL                                    VlOLA TION OF GOVT. CODE
       INSURANCE COMPANY, a Connecticut                        §12940(a);
14     corporation; TRAVELERS CASUAL TY                        2. DISCRIMINATION BASED ON
       INSURANCE COMPANY OF AMERICA,                           RACE AND NATIONAL ORIGIN IN
15
       a Connecticut corporation, PEGGY                        VIOLATION OF GOVT. CODE
16     STEPHENS, an individual; and DOES 1                     §12940(a);
       through 100, inclusive,                                 3. RACE AND NATIONAL ORIGIN
17                                                             HARASSMENT IN VIOLATION OF
                           Defendants.                         GOVT. CODE §12940(j);
18
                                                               4. HOSTILE WORK ENVIORNMENT
19                                                             IN VIOLATION OF GOVT. CODE
                                                                §12940 ET. SEQ.;
20                                                              5. FAILURE TO ACCOMOMDATE
                                                               ·PHYSICAL DISABILiTY IN
21
                                                                VIOLATION'OF GOVT. CODE
22                                                              §12940(m);
                                                                6. FAILURE TO ENGAGE IN A GOOD
23                                                              FAITH INTERACTIVE PROCESS IN
                                                                VIOLATION OF GOVT. CODE
24                                                              §12940(n);
25                                                              7. RETALIATION IN VIOLATION   OF
                                                                GOVT. COPE §12940 ET SEQ.;
26                                                              8. FAILURE TO PREVENT
                                                                DlSCRIMINA TION FROM
 27                                                             OCCURRING IN VIOLATION OF
 28
                                                                                                   1
                                        COMf'LAfNT   ANO 0£:MAND FOfl J.u,a, T-ai!M.,
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 11 of 118



 1                                                       GOVT. CODE §l294'>(K);
                                                         9. FAILURE TO PROMOTE IN
 2                                                       VIOLATION OF GOVT. CODE §12940
 3
                                                         ET SEQ.;
                                                         10. WRONGFUL/CONSTRUCTIVE
 4                                                       TERMINA TiON IN VIOLATION OF
                                                         PUBLIC POLICY, GOVT. CODE
 5                                                     · §12940 ET SEQ.; and
                                                       · 11. RETALIATION IN VIOLATION OF
 6
                                                         THE FMLA/CFRA (29 U.S.C.
 7                                                       §§261S(a)(2)/GOVT. CODE 12945.2 (1).

 8
       Brent Lindsey ("Plaintiff') alleges the following:
 9
      -1.    JURISDICTION AND VENUE

              I.     This action is brought pursuant to California Government Code §12920 et seq.,
11
       and the rules, regulations and directives implementing those statutes.
i2
              2.     Venue is proper in this Court pursuant to Code of Civil Procedure§§ 395 and
13
       395.5 because the events causing the injuries and/or damages occurred in Sacramento County.
 14
       II.   PARTIES
15
              3.     At all times relevant hereto, Plaintiff Brent Lindsey (hereinafter "Plaintiff') was
16
      ' an individual over age 18 and a resident of Sacramento.County; Califomia.
17
              4.     Plaintiff is informed- and bdieves and thereon aUeges that at aU times materia~
 18
       hereto, Defendant Travelers Commercial Insurance Company, (hereinafter "TCJC"), has been,
 19
       and is, a Connecticut corporation, with a principal place of business at One Tower Square,
 20
       Hartfura, Conneot4out-06483. At aU<timesmateria~hei:.eto,TCIC has been, and is, a -company
 21
       that provides insurance. Plaintiff is informed and believes and thereon alleges that at all times
 22
       mate1ial hereto TCJC has been authorized to do business and has been doing business in the
 23    State of Califomia.
 24            5.    Plaintiff is infonned and believes and thereon alleges that at all times material
 25   . hereto~ Defendant Travelers Casualty Insurance Company of America,. (hereinafter "TCICA"),
 26   · has been, and is, a Connecticut corporation, with a principat place of business at One Tower
 l?    Square, Hartford, Connecticut 06183. At all times material hereto, TCICA has been, and is, a
 28
                                                                                                         2
                                    COI\WLAINT A.NDDEMAND FOR JUR~' Taut..
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 12 of 118


 1   are/were qualified to transact and conduct business in the State of California, and did transact
 2   and conduct business in the State of California, and are thus subject to the jurisdiction of the
 3   State of California.   Specifically, DOES 1 through 100 maintain offices, operate businesses,
 4
     employ persons, and conduct business in the County of Sacramento.
 5           I 0.   Plaintiff is further infonned and believes, and thereon alleges, that each of the
 6   'fictitiously named Defendants aided and :assisted the named 0.efendants in committing the
 7   wrongful acts alleged herein, and that Plaintiffs   damages were proximately caused by each
 8   Defendant.
 9   III.   FACTUAL ALLEGATIONS THAT ARE COMMON TO ALL CAUSES OF
10           ACTION
1J          11.     Plaintiff was an employee of TCIC and TCTCA since September 2011. Plaintiff
12   worked .as a Claims Adjuster. Plaintiff was denied a work envir-0nm.ent free ,of disability, race
13   and national origin discrimination and was targeted for wrongful termination.
14          12.     In or about 2014, Ms. Stephens became Plaintiffs Field Property Lead Manager
15   ("FPLM").

16          13.     Immediately. after Ms. Stephens, became Plaintiff's FPLM she started to show

17   signs of apprehension toward Plaintiff due to his racial ethnicity.

18          14.     Plaintiff was subject to a hostile work environment created by Ms, Stephens and

19   was consistently harassed and discriminaled against.

20          15.      Plaintiff was singled out at meetings, reprimanded, frivolous accusations were

21   made against him, he was publicly humiliated in front of colleagues, and in over 8 years

22   working for TICC and TICCA, Plaintiff was never given a raise or promotion.

23          16.      The blatant harassment and racial discrimination against Plaintiff caused

24   extreme stress and emotional distress to the point that Plaintiff became physically ill.

25           )7.     Ptaintiffbrought   the harassment andracral discrimination to the attention of his

26   managers and Human Resources representative, Cheryl Allen, to no avail.

27

28
                                                                                                         4
                                    COMPLAJNT AND.DEMAND FOR J.URV T.RIA.l.
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 13 of 118


 1
      agents/employees harassed Plaintiff and/or failed to take immediate and approp1iate corrective
 2
      action. The harassment was sufficiently pervasive and severe as to alter the conditions of
 3
      employment and to create a hostile or abusive work environment.
 4
               49.    As a direct and proximate result of Defendants' conduct, Plaintiff has suffered
 5
      emotional distress and physical symptoms, pain and suffering, has lost income and related
 Ii
      benefits, past and future, and medical expenses, all to his damage in a sum according to proof.
 7
               50.    Pursuant to California Government Code §12965(b), Plaintiff requests an award
 8
      of attorneys' fees in this action.
 9
               51.    The acts taken toward Plaintiff were carried out by and/or ratified by Defendants
lO
      and/or managing agents/employees of Defendants acting in an oppressive, fraudulent and
11
      malicious manner in order to injure or damage Plaintiff, thereby justifying an award to him of
12
      punitive damages.
13
                                           FOURTH CAUSE OF ACTJON
14
                         (Hostile Work Environment in Violation Govt. Code §12940 et seq.- B'y
15
                         Plaintiff Against Defendants and Does t through 100)
16
              52.     Plaintiff realleges and incorporates by reference all of the allegations set forth in
17
       this Complaint.
18
              53.     J"he offensive conduct .to which Plaintiff was subjected constitutes a hostile
·19
       work environment in violation to FEHA, California Government Code§ 12940 et seq. During
20
       his employment, Defendants violated FEHA, California Government Code§ 12940 (j), by
21
       discrimination against Plaintiff due to his race, national origin and physical disability.
22
              54.     Defendants' harassment was hostile, abusive, continuous and pervasive to create
23
       a hostile work environment for the Plaintiff.
24
              55.     Defendants' harassment was unwelcome, 1mmihating, ,offensiv,e and adversely
25
       affected the terms of Plaintiffs employment.
26
2'7

28
                                                                                                         9
                                      COMl'l.Al.'-T AN.D DEMAND-FOR JURY TRJ.Al.
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 14 of 118


 1           75.       This cause of acli.on is brought pursuant to the FEHA, Govt. Code§ 12940(h),
 2
     which provides that it is unlawful to retaliate against a person "because the person has opposed
 3   any practices forbidden under [Government Code sections 12900 through 12966] or because
 4   the person has filed a complaint, testified, or assisted in any proceeding under the FEHA."
 5           76.       As a result of his disabiitties. national origin and race. Plaintiff was denied the
 6   right to work in a...,environment free of discrimination, was denied accommodation for his
 7   work injuries and was wrongfully terminated by Defendants.
 8           77.       Defendants' retafiatory conduct toward PTaintiff caused him emotional injury,
 9   induding, but not Jimited to, humiliation, anxiety, fear, and toss of self-esteem. Defendants'
10   retaliatory conduct was a substantial factor and the proximate cause of Plaintiff's damages.
11           78.       Plaintiffs disability, national origin and race were the reasons Defendants
12   retaliated against him.
13           79.       Plaintiff has suffer-ed monetary damages, lost wages and privi]eges o.f
14   employment ille.gally caused by Defendants' discriminatory conduct in an amount according
15   to proof.

16           80.       As a result of Defendants' conduct, Plaintiff is entitled to recover punr-trve
17   damages for the reasons set forth in paragraph 33 above.
18               81.    Pursuant to Califomia Government Code § l 2965(b ), Plaintiff requests an award
19   of attorneys' fees in this action.
20
                                             CAUSE OFACTION
                                        EJGHTH
21        (Failure to Prevent Retaliation from Occurring in Violation of Government Code
22                 §l2940(k) - By Plaintiff Against Defendants and Does 1 through 100)
23           82.       Pla-intiff realleges and incorporates by reference all of the allegations set forth
24   above in the Complaint.
25           83.       Defendants' conduct in subjecting Plaintiff to discriminatory conduct due lo
26   Plaintiffs disability constituted breach of their duty under FEHA, including the duty to take
27   immediate and appropriate corrective action and to take all reasonable step-s to prevent
28
                                                                                                             13
                                      COM'PLAINT AND PEMAND FOR.tURV TRIAL
2
 )
      I
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 15 of 118



      discrimination and retaliation from occurring purs.uant to California Government Code Section

      12~40(k).
 3
              84.    Defendants failed to take measures to prevent discrimination and retaliation.
 4            8 5.    As a direct result of the Defendants' failure to take all reasonable steps
 5    necessary to prevent discrimination, Pfaintiff has suffered and     wmcontinue to suffer pain and
,(i
      suffering, extreme and severe mental anguish and ·emotional distress, loss of earnings and
 7    earning capacity. Plaintiff is hereby entitled to general and compensatory damages in amounts
 8    to be proven at triat.
 9            86.    As a resuit of Defendants· conduci, Piaimiff is emitled to recover punitive
10    damages for the reasons s.et forth in paragraph 33 above.
11            87.     Pursuant to California Government Code § 12965(b ), Plaintiff requests an award

12    of .attorneys' fees in this action.

13                                          NINTH CAUSE OF ACTION

14        (Failure to Promote In Violation of Govt. Code §§12940 et seq.-By .Plaintiff AgaiBst
15                                   Defendants and Does 1 through 100)
16             88.    Plaintiff realleges and incorporates by reference all of the allegations- set forth

17    above in the Comptaint.

18            89.     Plaintiff was denied promotion and raises, on the basis of race and national

19    or.gir. discrimination and on the basis that Plaintiff complained to TCIC and TCICA about the

20    harassment and discrimination he was experiencing.

21            90.     TCIC's and TCICA's conduct toward Plaintiff violates Govt. Code§ 12940 et

22    seq. and ttie pubqic policy of the State of California, including, but not limited to, public policy
23    which prohibits-discrimination    -on the basis of race and national origin and which prohibits

24    retaliation against employees who oppose wrongful discriminatory employment practices.

25            91.     As a proximate cause ofTCfC's       and TCJCA's conduct, Plaintiff has suffered,

26    and continues to suffer, economic damages including, but not limited to, loss of wages and

27    employment benefits., in an amount according to proof.

28
                                                                                                            14
                                       CoMPLAfNT   AND.0EMANO-FOJtJURV   'f.R1AL
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 16 of 118



 1
             2.     For compensatory damages for physical injury and emotional distress, in an
 2
     amount according to proof;
 3
             3.     For an award of consequential damages, in an amount to be proven at trial;
 4
            4.     For punitive and -exemplary damages, in a sum t-0be determined at trial;
 5
            5.     For attorneys' fees under Government Code§ 12965(b), aoc,o.rding-toproof;
 6          '6.    For prejudgment interest, according to proof;
 7          7.     For reasonable costs of suit, in an amount according to proof;
 8          8.     For such other and further rerief as this Court deems just and proper.
 9
                                     DEMAND FOR JURY TRIAL
10
           Plaintiff Brent Lindsey hereby 11espectfullyrequests a trial by jury for all claims and
11
     issues raised in his Complaint that may be entitled to a jury trial.
u
13
                                                 LIPELES LAW GROUP, APC
14
     Date: August 5, 2019


                                                        I:\~
15

16                                               By: -'Niefn./--...k-as-Sc_h
                                                                   __Hy
                                                                      ______          _
17                                                     Kevin Lipeles
                                                       Attorneys for P'iaintiff
18                                                     Brent Lindsey

19

20

21

22

23

24

25
26

27

28

                                                                                                     19
                                  Cor.tl"'LA1NT AND OF.MA!l.'ll FOR 3UR\' TRIAL
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 17 of 118




                             EXHIBITC
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 18 of 118



 1
     Thomas H. Schelly (Bar No. 217285)
 2   Kevin A. Lipeles (Bar No. 244275)
     Ralph A. Kottke (Bar No. 287363)
 3   LIPELES LAW GROUP, APC
     880 Apollo Street, Suite 336
 4   El Segundo, California 90245
     Telephone: (310) 322-2211
 5   Facsimile: (310) 322-2252

 6   Attorney for Claimant,
     Brent Lindsey
 7

 8
                              AMERICAN ARBITRATION ASSOCIATION
 9

10   BRENT LINDSEY, an individual,                   AAA CASE NO.: 01-19-0004-6106
11
              Claimant,
12                                                   NOTICE OF DEPOSITION OF
     V.                                              RESPONDENT TRAVELERS
13                                                   COMMERICIAL INSURANCE
     TRAVELERS COMMERICIAL                           COMPANY'S AND TRAVELERS
14
     INSURANCE COMPANYSPECTRUM                       CASUALTY INSURANCE COMPANY
15   MOTORS, Inc. a Connecticut corporation,         OF AMERICA'S PERSON MOST
     et al.                                          KNOWLEDGEABLE AND REQUEST
16                                                   FOR DOCUMENTS
             Respondents.
17
                                                       Date:
18                                                     Time:
                                                       Place: Remote Web-Based Deposition
19                                                            Via Atkinson-Baker
20
                                                     Action Filed: July 17, 2019
21
   _______________                                __, Trial Date:


22
     TO ALL PARTIES AND TO THEIR ATTORNEYS:
23
            NOTICE JS HEREBY GIVEN that pursuant to California Code of Civil Procedure
24
     §2025.010 et seq., and American Arbitration Association Rules, Claimant will take the depo-
25
     sition of Respondent Travelers Commercial Insurance Company, Jnc. and Travelers Casualty
26
     Insurance Company Inc. 's Person Most Qualified to testify as to those areas specified in Ex-
27
     hibit "A."
28
     NOTICE OF DEPOSITION OF RESPONDENT TRAVELERS COMMERJCIAL INSURANCE CO. 'S PERSON
                                    MOST KNOWLEDGABLE
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 19 of 118



 1
                                                   EXHIBIT B
2
                           DOCUMENTS TO BE PRODUCED AT DEPOSITION
3

4
     REQUEST FOR PRODUCTION NO. l:
5
            ALL DOCUMENTS showing pay of other adjusters in CLAIMANT'S department at
6
     during relevant periods of their employment with RESPONDENT.
7
     REQUEST FOR PRODUCTION NO. 2:
8
            Any file, other than a personnel file, maintained by YOU regarding CLAIMANT.
9
     REQUEST FOR PRODUCTION NO. 3:
10
            CLAIMANT's payroll file. (This demand includes but is not limited to, all
11
     DOCUMENTS regarding CLAIMANT's compensation and benefits during CLAIMANT's
12
     employment with YOU.)
13
     REQUEST FOR PRODUCTION NO. 4:
14
            All DOCUMENTS that reflect, refer, or pertain to any and all complaints by any of
15   YOUR managers, employees or customers regarding YOUR conduct during the five years
16   preceding the filing of this action limited to only those complaints from managers or
17   employees at, or customers of, YOUR BUSINESS.
18   REQUEST FOR PRODUCTION NO. 5
19          All DOCUMENTS that reflect, refer, or pe1tain to any and all complaints by any of
20   YOUR managers, employees or customers regarding purported retaliatory conduct by YOU
21   during the five years preceding the filing of this action limited to only those complaints from
22   managers or employees at, or customers of, YOUR BUSINESS.
23   REQUEST FOR PRODUCTION NO. 6:
24          All DOCUMENTS that reflect, refer, or pe1tain to any and all complaints by any of
25   YOUR managers, employees or customers regarding purported discriminatory conduct by
26   YOU during the five years preceding the filing of this action limited to only those complaints

27   from managers or employees at, or customers of, YOUR BUSINESS.

28
     NOTICE OF DEPOSITION OF RESPONDENT TRAVELERS COMMERICIAL INSURANCE CO. 'S PERSON
                                    MOST KNOWLEDGABLE
                                                     9
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 20 of 118



 1
     REQUEST FOR PRODUCTION NO. 7:
 2
            All DOCUMENTS that reflect, refer, or pertain to any and all complaints by any of
3
     YOUR managers, employees or customers regarding conduct by YOUR employees during the
4
     five years preceding the filing of this action limited to only those complaints from managers
 5
     or employees at, or customers of, YOUR BUSINESS.
 6
     REQUEST FOR PRODUCTION NO.8:
 7          All DOCUMENTS that reflect, refer, or pertain to any and all complaints by any of
 8   YOUR managers, employees or customers regarding purported retaliatory conduct by YOUR
 9   employees during the five years preceding the filing of this action limited to only those com-

     plaints from managers or employees at, or customers of, YOUR BUSINESS.
11   REQUEST FOR PRODUCTION NO. 9:
12          All DOCUMENTS that reflect, refer, or pertain to any and all complaints by any of
13   YOUR managers, employees or customers regarding purpmted discriminatory conduct by
14   YOUR employees dming the five years preceding the filing of this action limited to only
15   those complaints from managers or employees at, or customers of, YOUR BUSINESS.
16

17

18

19                                             LIPELES LAW GROUP, APC

20    Date: September 25, 2020

21

22
                                               By           /s/
                                                    Ralph A. Kottke, Esq
                                                    Attorneys for Claimant
23

24

25

26

27

28

     NOTICE OF DEPOSITION OF RESPONDENT TRAVELERS COMMERICIAL INSURANCE CO. 'S PERSON
                                   MOST KNOWLEDGABLE
                                                     10
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 21 of 118




                             EXHIBIT D
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 22 of 118




                        AMERICAN ARBITRATION ASSOCIATION



   BRENT LINDSEY,                                    CASE NO. 0 l -19-0004-6106

                 Claimant,                           DISCOVERY ORDER NO. 1

  V.

   TRAVELERS COMMERCIAL INSURANCE
   COMPANY,TRAVELERSCASUALTY
   INSURANCE COMPANY OF AMERICA,
   PEGGY STEPHENS,

                 Respondents.


        I conferred today with claimant's counsel Ralph Kottke and respondent's counsel Joel
O'Malley concerning certain discovery disputes. Based on the matters discussed, the disputes are
resolved as follows.

        Claimant's Deposition

        Claimant is directed to answer all questions posed to him during his deposition unless a
valid privilege exists. If a party wants me to rule on objections or privileges during the deposition,
counsel should send me a text message at (310) 990-2582 that includes the telephone number
where I can reach counsel.

        Claimant's Notice of Deposition of Person Most Knowledgeable

        Claimant asked me to rule on several objections made by respondent.

        Respondent's objections to topics 22, 25, 27, 28, 29, 30, 39, 40, 43, and 44 are sustained. I
find the topics are overbroad, unduly burdensome, and seek testimony on matters that are not
relevant to the claims asserted.

       Respondent's objections to topics 45, 46, and 47 are overruled. I find the topics are not
overbroad or unduly burdensome and do seek testimony on matters that could be relevant to the
claims asserted.

        Respondent's objections to document requests I and 9 are sustained. I find the requests are
overbroad, unduly burdensome, and seek documents on matters that are not relevant to the claims
asserted.

         Claimant's counsel indicated he wants to amend claimant's arbitration demand. I directed
 counsel to make the request in a written application that states the specific amendment and the
 facts establishing good cause.


  Date: October 27, 2020                       Isl David G. Freedman
                                               Arbitrator
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 23 of 118




                             EXHIBITE
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 24 of 118




                        AMERICAN ARBITRATION ASSOCIATION
                         EMPLOYMENT ARBITRATION TRIBUNAL



  BRENT LINDSEY,                                    CASE NO. 01-19-0004-6106

                  Claimant,                         RULING ON MOTION FOR
                                                    SUMMARY JUDGMENT
  V.

  TRAVELERS COMMERCIAL INSURANCE
  COMPANY,TRAVELERSCASUALTY
  INSURANCE COMPANY OF AMERICA,
  PEGGY STEPHENS,

                  Respondents.



       Respondents The Travelers Indemnity Company (Travelers) and Peggy Stephens have
moved for summary judgment.      Claimant Brent Lindsey has opposed the motion. I have
considered the parties' written submissions and the oral argument presented on December 23,
2020, and grant the motion for the reasons set forth below.

       I.        CLAIMS

       Claimant's arbitration demand includes claims for violations of the Fair Employment and

Housing Act, wrongful termination of employment, and retaliation in violation of the Family

Medical Leave Act and the California Family Rights Act. The gravamen of his claims are his

allegations that he was subjected to a hostile work environment and discrimination due to his race,

national origin, and disability; that respondents failed to provide a reasonable accommodation for

his disability and to engage in the interactive process; and that he was discharged in violation of

public policy.

       II.       GROUNDS FOR MOTION

        Peggy Stephens asserts she is entitled to summary judgment because she was claimant's

supervisor and not his employer and did not engage in any form of unlawful harassment.
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 25 of 118




         Travelers asserts it is entitled to summary judgment because claimant cannot prove he

suffered an adverse employment action based on a protected status, suffered any fonn of unlawful

harassment, was denied a reasonable accommodation, or was discharged.

         III.    MATERIAL FACTS PRESENTED BY RESPONDENTS

         The evidence submitted in suppo1t of respondents' motion consists of excerpts of

claimant's deposition testimony and exhibits marked during his examination. 1 The facts relied

upon are listed in a separate statement of material facts. Claimant submitted a response to the

separate statement in which he identifies facts that are disputed and undisputed. The following is a

summary of the material facts both sides say are undisputed, plus facts that are disputed by

claimant but for which he cites evidence that does not create a triable issue.

         Claimant began working for Travelers in 2011. During his employment, claimant worked

in claims and was promoted from the operations division to the property division in January 2012,

and from an Inside Property Adjuster position to an Outside Property Adjuster position in March

2015. Claimant held the latter position until his employment ended in 20 I 9.

         Claimant received overall performance ratings of "meets expectations" or "fully meeting

expectations" in each perfonnance review he received. He received salary raises in January 2012,

October 2012, March 2015, October 2015, and April 2018. As a result of the raises, claimant's

annual salary increased from $44,000 when he was hired to $80,000 at the time his employment

ended.

         During his employment, claimant applied but was not selected for the positions of Risk

Control Associate, Outside Property CAT, Underwriting Trainee, Property Unit Manager, and

Technical Specialist. Claimant holds the opinion that his race was a reason he did not receive the

positions, but he admits he has no facts to show his race was a factor.

         Claimant adjusted claims assigned to him by loss coordinators Chris Bremmer and Melissa

Copeland. Neither person took any actions towards claimant based on his race. Claimant does not

recall any jokes or negative statements by any Travelers managers made to him or about him based

1
 Travelers submitted additional evidence with its reply brief. Claimant objected to the evidence and I have not
considered it.
                                                           2
  Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 26 of 118




on his race or national origin. Claimant also does not recall any managers making negative

statements, comments, or jokes to him or in his presence about people with disabilities.

          Ms. Stephens became claimant's manager in 2014. Claimant states that during a one-on-

one meeting in February 2014, Ms. Stephens made "unfounded accusations" against him and used

body language and a tone of voice that "indicated she did not care," all because of his race.

Claimant further states that in February 2014, because of his race, Ms. Stephens embarrassed him

in front of colleagues at a meeting by "calling" him out for sleeping when he was not. Claimant

also states Ms. Stephens had a "vendetta" against him because he chose not to socialize or engage

in work banter.

          On February 28, 2014, claimant emailed HR managers Cheryl Allan and Rosalind Baker to

report Ms. Stephens was harassing him. Allan met with claimant on March 3, 2014. After the

meeting, claimant had no problems with Ms. Stephens for three to six months but states she began

harassing him again by not giving him help with his work and not paying him fairly. Stephens also

made unspecified comments about the "demographics" of people who lived in "less affluent

areas."

          David Gosney became claimant's manager in December 2018. On January 24, 2019,

claimant requested a leave of absence from January 28 to April 21, 2019, due to an unspecified

health condition. Travelers granted the request and designated it as FMLA and CFRA leave. It

did not ask claimant to disclose the nature of his health condition.

          On April 21, 2019, Travelers sent a letter to claimant stating that as of that date he had

"exhausted his job-protected FM LA/CF RA leave" and to contact the company if he had any

questions. The letter did not say that claimant's employment was terminated. Claimant did not

contact the company for clarification of anything in the letter.

          Claimant returned to work on April 23, 2019. He did not request any accommodations on

his return. On April 24, claimant felt Mr. Gosney spoke to him in a "condescending" manner

about how Travelers operates and told him to go on the computer and start taking claims. As a



                                                     3
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 27 of 118



result, on April 25 he told Mr. Gosney he was resigning from his employment and would work two

more weeks.

        Claimant gave this testimony about why he resigned: "My initial return to work, first day

back to work l did not receive anything. Second day is when this conversation occurred with Mr.

Gosney. At that point is when I explained to him that the way they were treating me was not

correct, therefore I do not want to deal with this. Therefore I give two weeks notice, and after I

gave my two weeks notice is when I was bombarded with claims."

        Mr. Gosney asked claimant if he needed anything during his remaining two weeks and

claimant did not request any accommodations.           Claimant worked on April 26 and was hospitalized

on April 27. He did not return to work and his employment ended on May 8, 2019.

        On July 23, 2019, claimant filed an administrative complaint with the California

Department of Fair Employment and Housing alleging discrimination, harassment, retaliation,

wrongful termination, and related claims and obtained an immediate right-to-sue notice.

        IV.      MATERIAL FACTS PRESENTED BY CLAIMANT

        Claimant submitted a separate statement in which he identifies facts he contends raise

disputed issues of material fact. The supporting evidence he cites is in his 2-page declaration and

excerpts of his deposition testimony and interrogatory responses, deposition testimony of Cheryl

Allan, Peggy Stephens and David Gosney, the declaration of Abie Kamara, and various

documents. 2 The following is a summary of the facts for which claimant has provided evidentiary

support in addition to the undisputed facts summarized above.

        Ms. Stephens became claimant's Field Property Lead Manager on or about 2014. She is

Anglo-American or white and talked to claimant in an unspecified way that showed she considered

him inferior due to his race. Once in a meeting of thirty to forty people, Ms. Stephens yelled

across the room to claimant, "You are sleeping." Claimant was not sleeping and was humiliated.

        When an outside position opened in 2015, Ms. Stephens did not offer claimant the job he


2 The Kamara declaration states she worked at Travelers from 20 I I to 2015 and purports to describe events involving
her supervisor at unspecified times. The declaration consists of statements and unsupported conclusions about things
that are not relevant to the claims in this case and is insufficient to raise any triable issues of material fact.
                                                          4
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 28 of 118



wanted Sacramento near his home. She directed that he be assigned to the Bay Area, which

required that he move.

        Ms. Stephens continued to be an executive until the end of claimant's employment. She did

not contact claimant during his 2019 medical leave and did not contact him after he said he was

resigning.

        Claimant's declaration states his conclusion that he was "qualified" for various positions he

applied for during his employment and did not receive due to his race. Claimant's opposition does

not include any evidence that corroborates or supports this conclusion.

        Claimant never wanted to leave Travelers and intended to stay with the company when his

leave ended in April 2019. When claimant announced his resignation, Mr. Gosney made no effort

to find out what was wrong and do an interactive process or provide an accommodation.

        V.     ANALYSIS

               A.        Summary Judgment Standard

        Section 13 of the parties' arbitration agreement states: "The parties have the right to file

pre-hearing motions, including dispositive motions (e.g., dismissal or summary judgment), in a

fonn consistent with the Federal Rules of Civil Procedure. The arbitrator shall consider and rule on

such motions in advance of the commencement of the arbitration hearing, and such consideration

and ruling shall be consistent with the standards set forth in the Federal Rules of Civil Procedure."

       A motion for summary judgment should be granted when there is no genuine issue as to

any material fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.

56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986).

       The moving party must show that "under the governing law, there can be but one

reasonable conclusion as to the verdict." Anderson, 477 U.S. at 250. The moving party bears the

initial burden of identifying the elements of the claim or defense and evidence that it believes

demonstrates the absence of an issue of material fact. Celotex Corp. v. Catrett, 4 77 U.S. 317, 323

(1986). Where the non-moving party has the burden at trial, however, the moving party need not

produce evidence negating or disproving every essential element of the non-moving party's case.

                                                   5
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 29 of 118



Celotex, 4 77 U.S. at 325. Instead, the moving party's burden is met by pointing out that there is an

absence of evidence supporting the nonmoving party's case. Id.; Horphag Research Ltd. v. Garcia

(9th Cir. 2007) 4 75 F.3d I 029, I 035.

          The burden then shifts to the non-moving party to show that there is a genuine issue of

material fact that must be resolved at trial. Fed. R. Civ. P. 56(c); Celotex, 477 U.S. at 324;

Anderson, 477 U.S. at 256. The non-moving party must make an affirmative showing on all

matters placed in issue by the motion as to which it has the burden of proof at trial. Celotex, 477

U.S. at 322; Anderson, 477 U.S. at 252. A genuine issue of material fact will exist "if the evidence

is such that a reasonable jury could return a verdict for the non-moving party." Anderson, 477 U.S.

at 248.

                 B.        Claims for Unlawful Discrimination

          Claimant's first and second causes of action allege unlawful discrimination based on race,

national origin, and disability by Travelers. 3 To establish these FEHA claims, claimant must prove

that Travelers discharged or subjected him to another adverse employment action and that his race,

national origin, or disability were substantial motivating reasons for the discharge or adverse

employment action. (CACI No. 2500; Judicial Council of California Civil Jury Instructions (2019

edition.))

          There is an adverse employment action if an employer has taken an action that "taken as a

whole, materially and adversely affected the terms, conditions, or privileges of' an employee's

employment.      A "substantial motivating reason" is a reason that actually contributed to the

discharge or adverse employment action. (CACI No. 2507.)

          In his first cause of action for disability discrimination, claimant alleges that Travelers

terminated his employment due to his physical disability. It is apparent that claimant bases this on

the theory of constructive discharge.




3
 Every claim is claimant's complaint is alleged against Travelers and Ms. Stephens. During the hearing of the
motion, claimant's counsel stated that claimant is not pursuing any claims against Ms. Stephens except the claim for
unlawful harassment.
                                                          6
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 30 of 118




       To establish constructive discharge, claimant must prove that respondent, through its

officers, directors, managing agents, or supervisory employees "intentionally created or knowingly

permitted working conditions to exist that were so intolerable that a reasonable person in

[claimant's] position would have had no reasonable alternative except to resign. In order to be

sufficiently intolerable, adverse working conditions must be unusually aggravated or amount to a

continuous pattern. In general, single, trivial, or isolated acts of misconduct are insufficient to

support a constructive discharge claim." (CACI No. 251 O; Judicial Council of California Civil

Jury Instructions (2019 edition.))

       Claimant's opposition argues that he was constructively discharged because Traveler's sent

the April 21 letter telling him his leave was no longer job-protected and he reasonably interpreted

the letter to mean he could be terminated immediately unless he showed up for work. He further

argues that when he returned to work Mr. Gosney spoke to him condescendingly when instructing

him on company procedures, only made perfunctory inquiries about how he was doing, and loaded

him with work, and these things caused stress and made him resign.

        As noted above, the facts show claimant requested and was granted a leave until April 21.

The April 21 letter stated that as of that date he had "exhausted his job-protected FMLA/CFRA

leave" and to contact the company if he had any questions. Claimant has not cited anything in the

letter that was factually or legally incorrect. The letter did not say that claimant's employment was

terminated or include any statements that threatened termination. Claimant did not contact the

company for clarification of anything in the letter. Claimant testified that he was given no work on

his first day back and was he was "bombarded with claims" after he submitted his resignation on

his second day back.

        These facts fail to show that Travelers intentionally created conditions so intolerable that a

reasonable person in claimant's position would have had no reasonable alternative except to

resign. There is nothing in the April 21 letter that would have caused a reasonable person to

believe he had no alternative except to resign. In fact, claimant must not have had that belief

because he did not resign when he received the letter; he returned to work. Thus, the letter did not

                                                    7
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 31 of 118




force him to resign and no reasonable employee could have felt forced to resign due to the contents

of the letter. The facts also show that claimant did not resign because he was "bombarded with

claims." He testified that happened after he submitted his resignation, not before.

       Claimant's testimony describes nothing about the behavior of Mr. Gosney in April 2019

that a reasonable person would have considered intolerable. The statements claimant found
condescending were isolated, not aggravated, and not part of a continuous pattern.

       Accordingly, I do not find there is any evidence to support a discrimination claim based on

the adverse action of the termination of claimant's employment. Claimant has failed to meet his

burden to show that there is a genuine issue of material fact as to that issue.

       In his second cause of action for race and national origin discrimination, claimant does not
allege a specific adverse action, but I assume he contends that he suffered an adverse action when

he was not selected after he applied for new positions, which is specifically alleged in his ninth

cause of action, in addition to being constructively discharged.

       Claimant's evidence shows he applied but was not selected for several positions during his

employment. He testified that his race was the reason he did not receive the positions, but he

admits he has no facts to show his race was a factor. He also has not submitted any evidence that

describes his qualifications for any position he sought, identifies the person or persons who made

the decision not to grant his applications, or describes any facts to support his conclusion or prove

that his race was a factor.

       An employee's subjective beliefs in an employment discrimination case do not create a

genuine issue of fact. He must provide evidence relating to the challenged adverse action and the

motivation of the decision makers and prove a causal link between a prohibited motivation and the

adverse action. (Featherstone v. Southern California Permanente Medical Group (2017) I 0
Cal.App.5th 1150, 1159.) Claimant has failed to do so.

                C.      Claims for Unlawful Harassment

        Claimant's third and fourth causes of action allege unlawful harassment based on race,

national origin and disability by Travelers and Ms. Stephens. He specifically alleges that Ms.

                                                   8
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 32 of 118




Stephens created a hostile work environment by humiliating him in meetings and by making

frivolous accusations due to his race.

       To establish these FEHA claims, claimant must prove that he was subjected to unwanted

harassing conduct due to his race, national origin, or disability, that the harassing conduct was

severe or pervasive, and that a reasonable person in claimant's circumstances would have

considered the work environment to be hostile or abusive. (CACI No. 2521 A.) "Severe or

pervasive" means conduct that alters the conditions of employment and creates as hostile or

abusive environment.   Factors to be considered include the nature of the conduct, how often and

over what period it occurred, and the extent to which it unreasonably interfered with an

employee's work performance. (CACJ No. 2524.)

       Unlawful harassment includes verbal harassment such as "epithets, derogatory comments

or slurs on a basis" prohibited by the FEHA. (Cal. Code Regs., tit. 2, § 11019(6)(2). However,

harassment that is occasional, isolated, or sporadic is insufficient. Claimant must show harassment

of a repeated, routine or generalized nature, especially when the harassing conduct is not severe.

(Lyle v. Warner Bros. Television Productions (2006) 38 Cal.4th 264, 283-285; Aguilar v. Avis Rent

A Car System, Inc. (1999) 21 Cal.4th 121, 130-131.)

       Claimant's testimony shows that Ms. Stevens talked to him in an unspecified way on

unspecified days that showed she considered him inferior due to his race, in 2014 humiliated him

in a meeting of thirty to forty people by yelling that he was sleeping, in 2015 did not offer him a

job he wanted in Sacramento, and on unspecified dates made unspecified comments about the

"demographics" of people who lived in "less affluent areas." This evidence does not raise a triable

issue of fact regarding unlawful harassment.

       Claimant's testimony does not describe facts that show Ms. Stephens said or did anything

towards claimant because of his race or motivated by racial bias. Claimant's subjective belief that

she considered him inferior due to his race is not sufficient to prove harassing conduct due to his

race. More is required. Even if hostility towards claimant due to his race was the reason for Ms.

Stephens' conduct, the conduct claimant describes does not include evidence of racial epithets,

                                                   9
  Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 33 of 118




racially derogatory comments, or racial slurs. It was not severe or pervasive unlawful harassment

in any sense and he has presented no evidence to support a finding that it altered the conditions of

employment and created a hostile or abusive environment.

               D.      Claim for Failure to Accommodate

       Claimant's fifth cause of action alleges a claim for failure to reasonably accommodate a

disability. To establish this FEHA claim, claimant must prove that he had a condition that limited a

major life activity, that he was able to perfonn his essential job duties with reasonable

accommodation for his condition, that respondent failed to provide reasonable accommodation for

his physical condition, and that failure to provide reasonable accommodation was a substantial

factor in causing harm. (CACI No. 2541.) Reasonable accommodation under means "a

modification or adjustment to the workplace that enables the employee to perform the essential

functions of the job held or desired." (Nadaf-Rahrov v. Neiman Marcus Grp., Inc. (2008) 166

Cal.App. 4th 952, 974.)

       Claimant's complaint alleges that in April 2019 he "requested that Defendants make a

reasonable accommodation for his physical disability so that he would be able to perform the

essential job requirements" and that respondent "refused said accommodation and refused to

discuss any other potential reasonable accommodation it might afford" to him.

       Claimant has presented no evidence describing his physical disability or the form of

reasonable accommodation recognized under the FEHA that he required to perform his essential

job duties when he returned to work in April 2019 and his testimony disproves the allegation that

he requested an accommodation that respondent failed to provide. When asked in deposition if he

requested any accommodations to perfonn his job when he returned to work in April 2019,

claimant gave these answers: "I did not ask for my accommodations when I returned to work at

that time" and "I did not ask for any accommodations." This unequivocal testimony defeats his

claim that respondent failed to reasonably accommodate a disability he had.




                                                   10
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 34 of 118




                E.      Claim for Failure to Engage in Interactive Process

         Claimant's sixth cause of action alleges that respondent to engage in a good faith

interactive process. To establish this FEHA claim, claimant must prove that he had a physical

condition known to respondent, that he requested that respondent make reasonable accommodation

for his physical condition, that he was willing to participate in an interactive process to determine

whether reasonable accommodation could be made so that she would be able to perform the

essential job requirements, and that respondent failed to participate in a timely good-faith

interactive process with him to determine whether reasonable accommodation could be made

(CACI No. 2546.)

         "Two principles underlie a cause of action for failure to provide a reasonable

accommodation. First, the employee must request an accommodation. Second, the parties must

engage in an interactive process regarding the requested accommodation and, if the process fai Is,

responsibility for the failure rests with the party who failed to participate in good faith." (Gelfo v.

Lockheed Martin Corp. (2006) 140 Cal.App.4th 34, 54, internal citations omitted.)

         When asked if he requested any accommodations to perfonn his job when he returned to

work in April 2019, claimant gave these answers in his deposition: "I did not ask for my

accommodations when I returned to work at that time" and "I did not ask for any

accommodations.'· This testimony defeats his claim that respondent failed to engage in a good faith

interactive process. The duty to do so never arose because claimant never requested an

accommodation.

                F.      Claim for Retaliation

         Claimant's seventh cause of action alleges unlawful retaliation. To establish this FEHA

claim, claimant must prove that he engaged in a fonn of protected activity, that respondent

discharged or subjected him to another adverse employment action, and that his protected activity

was a substantial motivating reason for the discharge or adverse employment action. (CACI No.

2505.)

         Claimant's complaint alleges that his disability, race, and national origin "were the

                                                   11
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 35 of 118




reasons" respondent retaliated against him. The complaint does not allege he suffered retaliation

for engaging in any form of protected activity and he has not presented evidence that raises a

disputed issue of fact on that issue.

        Claimant's retaliation claim fails because he has not alleged, and his evidence does not

show, he engaged in any protected activity that motivated any adverse employment actions taken

against him.

                G.      Claim for Failure to Prevent Retaliation

        Claimant's eighth cause of action alleges a failure to prevent unlawful retaliation. Claimant

cannot prevail on this claim because his retaliation fails. (Dickson v. Burke Williams, Inc. (2015)

234 Cal.App.4th 1307, 1314.)

                H.      Claim for Failure to Promote

        Claimant's ninth cause of action alleges he was denied promotions and raises due to his

race and national origin. As with his discrimination claims, to establish this FEHA claim, claimant

must prove that respondent denied him a promotion or raise and that his race or national origin

were substantial motivating reasons for those decisions.

        As discussed above, claimant's evidence shows he applied but was not selected for several

positions during his employment.        His evidence does not describe his qualifications for any

position he sought, does not identify the person or persons who made the decision not to grant his

applications, and does not describe any facts to support his allegation that his race was a factor.

He admits he has no facts to show his race was a factor and rests on his uncorroborated opinion

that his race was a reason he did not receive the positions. Claimant's subjective belief that his

race was a reason he was not selected is insufficient to raise a triable issue.

        Claimant's salary was raised in January 2012, October 2012, March 2015, October 2015,

and April 2018. His complaint does not allege and his evidence does not describe a time when he

should have received a raise but did not or show any facts to support his allegation that race was

ever a factor in his compensation.      Claimant's subjective belief that his race was a reason he did

not receive a raise is insufficient to raise a triable issue.

                                                      12
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 36 of 118




       I find claimant had not shown that there is a genuine issue of material fact concerning the

discrimination alleged in his ninth cause of action.

               I.      Claim for Wrongful Termination

       Claimant's tenth cause of action alleges that respondent constructively terminated his

employment in violation of public policy. This claim fails because, as discussed above, the facts

presented do not establish that respondent intentionally created or knowingly permitted intolerable

conditions that forced claimant to resign.

               J.      Interference with FMLA and CFRA Leave

        Claimant's eleventh cause of action alleges respondent violated the FMLA and CFRA by

terminating his employment "on April 21, 2019, while he was FMLA/CFRA leave." This claim

fails because, as discussed above, the evidence shows that respondent did not terminate claimant's

employment. The facts presented do not establish that respondent intentionally created or

knowingly permitted intolerable conditions that forced claimant to resign.

       VI.     CONCLUSION

       Respondents have met their burden by showing that there is an absence orcviJcncc

supporting claimant's case and that they are entitled to an award in their favor as a matter of law.

Claimant has not met his burden to make an affirmative showing of facts as to those issues for

which he has the burden of proof at trial. Therefore, the motion for summary judgment is granted.



Date: December 29. 2020
                                                       . Freedman
                                              Arbitrator




                                                  13
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 37 of 118




                              EXHIBIT F
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 38 of 118




    Performance           Evaluation          (&lt;20
    Manager Document - Completed
    Brent Lindsey

    Job Title: Claim Rep, Outside Property F                      Manager: Joseph Salerno
    Document Type: Performance Evaluation (&lt;20                 Period: 01/01/2015 - 12/31/2015
    Template: Individual Contributor                              Document ID: 380477
    Status: Completed                                             Due Date: 12/31/2015



    Section 1 - Goals/Objectives
   ~:-~-r, ,,-ti,;n c' Q ·1fit::   T1a,.;h1,1c;~i   ':\if'
    Description:
   Apply Claim functional knowledge and skill throughout all phases of every claim (Assignment, Coverage,
    Investigation, Evaluation, Resolution) in compliance with Company standards.
   Analyze and determine coverage
   Analyze and evaluate damages
   Determine and assign liability
   Determine ccmpensability
   Set and maintain reserves (indemnity and expense)
   Identify and pursue all potential risk transfer and recovery opportunities
   Identify and pursue potential fraud
   Resolve and settle claim
   This goal supports the Technical Skill Foundation of Quality and the following Claim strategies: Provide
   Compelling Claim Service and Achieve Optimal Outcomes.
   Measurement:
   File Review
   % Meets from File Review questions (people view) relating to Technical Skills findings and observations from
   Self, Managerial, Focus and Commentary (e.g., coverage decisions/other coverages explored; analysis of
   causation/damages, liability and evaluation; quality of estimates and payments).
   Key Performance Indicators (KPI)
   None.
   Observations
   Manager observations of trends identified from file reviews, Ride-alongs, sit-alongs, listening to recorded
   statements, roundtables. etc.
   Feedback from others (e g., field trainers. specialized resources, National CAT Center, other third party
   observations).
   Use of investigation techniques (e.g., scoping methods, scene photos/diagrams).




                    Manager Rating: 3 - Meets
                               Weight:     0%


                                           Brent transitioned from an Inside Claim Representative (ICR) to an Outside
                                           Claim Representative (OCR) on March 23rd, 2015.

               Manager Comments:
                                           Brent's overall score of 98.2% in the Technical Skill foundation is above the
                                           office average of 97.2%. His above average result is indicative of the ability
                                           to acclimate quickly to his new role.




                                                                                                                            EXHIBIT




                                                       CONFIDENTIAL                                                 Travelers000299
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 39 of 118




   Provide Compelling Claim Services, Drive the Information Advantage, and Partner for Mutual Success.
   Measurement:
   File Review
   Assessment should consider Product Overall File Rating from Self, Managerial, and Focus Reviews, as well as
   information from Commentary Reviews and performance within Foundations and Phases. Assessment should
   also consist of commentary on significant environmental factors, including workload volumes, unusual complexity
   or other significant outlying factors.
   Aggregated Product Ratings
   Key Performance Indicators (KPI)
   None
   Observations
   Actual productivity relative to Product Established Productivity Guidelines for Office
   Ownership demonstrated on assigned and reassigned work
   Inventory Management including inventory assumption, notices to closings, proactive movement of files to
   resolution jurisdiction/complexity of claims, management of age of inventory
   Desk Management including diary management, mail and phone call/inquiry management




                    Manager Rating:       3 - Meets
                               Weight:    0%


                                          Brent's overall file resul:s demonstrate his ability to follow a disciplined and
                                          consistent approach in all phases o; claim (assignment, coverage,
               Manager Comments:          investigation. evaluation and resolution) handling. This leads to the
                                          performance results in each foundation outlined in prior sections, all while still
                                          new to the outside property role.




                         Created By ·    Profile                    01/14/2016 8:03PM

   c:ounda,ion - , Q..i,- litr-c   ''.J-'-Jioe•ncr.c:u ,•.,I,, ~ ,,_, .
   Description:
   Support and preserve the Travelers brand, reputation and culture internally and externally in all interactions to
   contribute to the overall success of the unit, office and the Claim organization)
   Build and foster collaborative working relationships with co-workers. business partners and/or agentsibrokers
   Participate in activities/opportunities that foster cooperation and a unified, coordinated effort/solution within the
   unit, office or country-wide
   Share knowledge with other claim professionals (e.g., mer.tor a new hire or trainee; teach a topic of expertise to
   the unit)
   This goal supports the Engagement Foundation of Quality and the following Claim strategies: Partner for Mutual
   Success and Achieve Optimal Solutions.
   Measurement:
   File Review
   % Meets regarding quality of contacts/interactions from File Review Engagement questions (people view) from
   Self, Managerial and Focus reviews and trends from Commertary reviews (e.g., communication to Underwriting,
   account, agenUbroker of coverage issues, reasons for denial, ROR/disclaimers, excess exposure to account;
   ARN generation; compliance with account-specific SAC guidelines. responsiveness to account, agent, broker,
   Underwriting inquires/complaints)
   Key Performance Indicators (KPI)
   None.
   Observations
   Manager Observations of actions taken to build, enhance and/or maintain partnerships externally with agents,
   brokers or business partners and internally w,t'lin team and across tile organization
   Feedback from peers and others internally
   Feedback from agents/business partners (e.g., complrments/ complaints; feedback from CAEs, TIS, Subro, Staff




                                                   CONFIDENTIAL                                                      Travelers000304
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 40 of 118




   Counsel)
   Participation in Agency/business partner visits, Office Tours, Marketing/Underwriting business and sales
   meetings; CAE Account Reviews; National Accounts Employer Schools, etc.)




                     Manager Rating:     3 - Meets
                              Weight:    0%


                                         Brent utilizes his business partners to ensure the overall success of the
                                         Travelers brand. This includes timely notification of agents/brokers when
                                         there is a customer dispute, or complete coverage denial. He consistently
                                         involves Insured business contacts gearing around the preferences outlined
                                         in SAC instructions.
               Manager Comments:

                                         He has presented in multiple ERT sessions to help facilitate the training of
                                         reps outside of the property department. Brent also has often received
                                         subrograms, indicating his prompt and accurate assistance with setting up
                                         our subro department for recovery success.




                         Created By :   Profile                  01/1412016 8:03PM

   Section 2 - Individual Contributor General Competencies
   To view definitions of Individual Contributor General Competencies, click here.


   Description:Takes ownership and responsibility for actions and outcomes, performance and results.




                    Manager Rating:      3 - Meets




                         Created By .   Template                 01/14/2016 8:03PM

  :.na!· .ic , •· 1 1 •''r
   Oescription:ldent1fies current or future problems or opportunities, analyzes, synthesize and compares information
   to understand issues, identifies cause/effect relationships and explores alternative solutions to support sound
   decision making.




                    Manager Rating:      3 - Meets




                                                   CONFIDENTIAL                                                   T ravelers000305
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 41 of 118




                             EXHIBIT G
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 42 of 118




    Interim Review
    Manager Document - Completed
    Brent Lindsey

    Job Title: Claim Rep, Outside Property F                Manager: Dennis Sullivan
    Document Type: Interim Review                           Period: 01/01/2016 - 06/30/2016
    Template: Interim Review                                Document ID: 398973
    Status: Completed                                       Due Date: 06/30/2016



    Section 1 - Progress Update
   What Went W II 0



   Description:

   As you reflect on the goals and objectives set for this year - and competencies most critical for success - describe
   what went well.




                                      Foundation    of Quality - Technical Skill



                                     Your quality score for the Technical Skill foundation at mid-year is 98.4%
                                     which is above the office average of 98.2%. Good job with this result! Keep
                                     up the great workJ



                                     You have been referring the appropriate losses to TIS and contacting subro
                                     when required.



                                     Foundation of Quality - Strategy
             Manager Comments:


                                     Quality score for the Strategy foundation at mid-year is 9Y.7% compared to
                                     the office average of 98.6%.



                                     You have also achieved 49% first call settlements in 2016 YTD. Great workl



                                     Foundation    of Quality-Engagement-Compelling       Claim



                                     One of Property's most important KPl's is the 24 hour contact goal of 90%.
                                     You have achieved a 24 hour contact result of 90% YTD. You have done an




                                                                                                                    EXHIBIT

                                                                                                            It1•6·10
                                                                                                                  ~t-
                                                                                                                     mr
                                             CONFIDENTIAL                                                     Travelers000318
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 43 of 118




                        excellent job meeting the goal as of mid-year, continue to focus aggressively
                        on achieving 24 hour contact to ensure success through the end of the year



                       Quality score for the Engagement foundation at mid-year is 95.2% and the
                       office average is 98.8%.



                       You have achieved a Net Promoter Score of 66.7% year to date. This result
                       is above the Property Countrywide result of 53.7% and the Northern
                       California Property result of 42.4%. Outstanding job here keep up this
                       amazing work!''



                       You have also done a very good job staying on top of your customer follow
                       up calls.



                       Foundation   of Quality - Information    Accuracy



                       Quality scores for the Information Accuracy foundation at mid-year is 97.9%
                       compared to the office average of 96.3%. Keep up the great work'



                       Your file documentation is complete and concise. You are capturing all the
                       required data points including the clock screen, COL, SCOL, and
                       participants.



                       Aggregate view of overall file quality



                       Your overall Self Review quality at mid-year is 97.5% with the office average
                       being 98.1%.



                       You have received a total of 126 new notices through June 2016 and 95% of
                       those have been closed within 30 days.



                       You have done a good job staying on top of your inventory and overall desk
                       management



                       Foundation of Quality-Engagement-Mutual        Success



                       You have submitted 5 ARNs YTD.




                              CONFIDENTIAL                                                    Travelers000319
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 44 of 118




                     Manager Rating:         Fully Meeting Expectations


                 Manager Comments:
                                            You have posittoncd yourself for o good year. Your KPls are high, you are
                                            excellent at interacting with the Insureds and your grasp and understanding
                                            cf t.1e OCR role will continue to improve every day. Keep up the good work.



                                            As of midyear, you are fully meeting the expectations of the position. Thank
                                            you for your contribution. it is greatly appreciated'




   Section 3 - Review Date


    - Date: 07/19/2016




                         Created By ·   Template                 02i22/2016 11 ·06AM

                 Lasi Modified By :     Dennis Sullivan          07/19/2016 7:06PM

   Section 4 - Employee Comments


               Employee Comments:




    At1,• tu~H·:.'
    No Attachments have been added to this document




                                  Created By:        N4FD9D                          02/22/2016   11:06:12AM
                           Transferred From :        Nathan Senti                    07/12/2016   4:57:21 PM
                              Transferred To:        Dennis Sullivan                 07/12/2016   4:57:21PM
                              Transferred By:        Nathan Senti                    07/12/2016   4:57:21 PM
                           Acknowledged By :         N54C71                          07/19/2016   7:14:35PM
                               Completed By :        Dennis Sullivan                 07/19/2016   7:18:34PM
                            last Modified By :       Dennis Sullivan                 07/19/2016   7:18:34PM




                                                   CONFIDENTIAL                                                 Travelers000321
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 45 of 118




                              EXHIBIT H
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 46 of 118




   Performance         Evaluation       (&lt;20
   Manager Document - Completed
   Brent Lindsey

   Job Title: Sr Claim Rep Outside Prop F                   Manager: Keith Pearman
   Document Type: Performance Evaluation (&lt;20            Period: 01/01/2017 - 12/31/2017
   Template: Individual Contributor                         Document ID: 578176
   Status: Completed                                        Due Date: 12/31/2017



   Section 1 - Goals/Objectives
  Cptimai Cutcom8s        in Fil- Handling
   Description:

   Apply Claim functional knowledge and technical skill throughout all phases of every claim (Assignment,
   Coverage, Investigation, Evaluation, and Resolution) in compliance with Company and jurisdictional
   requirements. Leverage appropriate tools and technologies.

   Measurement:

   Manager observations of strengths and opportunities identified from file reviews, ride-alongs/re-inspections, sit-
   alongs, listening to recorded statements, roundtables, etc.
   Feedback from others (field trainers, specialized resources, National CAT Center, other third party observations,
   etc.).




                  Manager Rating: 3 - Meets
                            Weight: 0%


                                      Brent, You strive for Optimal Outcomes in all your files thru the Assignment
                                      by quickly calling the insured Your file have coverage caption and you
                                      explain to the insured on what is covered by there pclicy Mn"e sure to be
                                      •1erydetailed focused 1nyour lnvestigaticn. You are an early adaptor and
              Manager Comments:       leverage the new tools introduced this year.



                                      Yourself reviews Grand total was 98.5 % vs the NCCC at 97 2%




                      Created By :   Profile                   01/10/2018 3 32PM



   Description:

   Provide exceptional customer service throughout the claim life cycle in compliance with business imperatives.
   Develop an initial and on-going relationship with the customer that exemplifies Secured, Respected and Cared




                                                                                                                     EXHIBIT




                                               CONFIDENTIAL                                                    Travelers000341
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 47 of 118




    Section 4 - Mgr Overall Comments/Rating


                     Manager Rating:      3 - Meets


                Manager Comments:
                                          Brent, Overall you are meeting expectation this year, you are doing a
                                          good job on helping/assisting teammates and working to promote
                                          mutual success.



                                          I appreciate your hard work and flexibility you show toward our
                                          product.




   Section 5 - Review Date


    - Date: 01/31/2018




                      Created By:     Template                 01/10/2018   3:32PM

                 Last Modified By :   Keith Pearman            02/01/2018   9:44AM

   Section 6 - Employee Comments


               Employee Comments:




    }i(   !H: :,n 1
    No Attachments have been adced to this document




                                Created   By :    l<eith Pearman                     01/10/2018 3:32: 11PM
                         Acknowledged     By :    N54C71                             02/01/2018 12:03:26PM
                             Completed    By :    Keith Pearm;:in                    02/01/201812:13:13PM
                          Last Modified   By :    Keith Pearman                      02/01/2018 12: 13: 13PM




                                                 CONFIDENTIAL                                                  T ravelers000345
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 48 of 118




                              EXHIBITI
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 49 of 118


                                                                                                                                                                                                NewWJodO\
    Workforce Job Summary
     Brent Lindsey                                        EMP                                              Empl 10 001788936
   Go ToJOl> Oilta
   1 Job Information                                                                                           -~   -     •-·   ---~ .   -------.
                                                                                                                Personable      I Ftnd I l:iJ/ ~     First          1-36 ol 36   I Last
   ) .2ener.:!I !1Job lnformetion     t1 l!Yort(Location      ~j§elary Plan jf CompensatiQn       J e)
    Organlnt+onal        fm;>I                                                                             Hourly                          Ch.ange
    Rela~ionshlp         Re«Jrd                                                                            Ra1e         Curretic)I                    Compon1n1s
                                                                                                                                           Pereont

    EMP                              005/09~2.019                        83000.000     6916.€67    319.231 39.9038◄6USO                               Components

   EMP                               005/0312019                         83000,000    6i;16.E.&7 319.231 39.903846 USO                                Components


   EMP                               00(129/2019          0              63000.000    6916.GG7 319.231 39.9038(6 USO                                  Comp~t;nts

   EMP                               0 ~41231_2019                       83000.000    6916.667     319.231 39.903846 USO                              Componenls

   EMP                               0 0312512019                        a3000.000    6916.667     319,231 JS.903846 USO                              Components


  ·EMP                               0 03122/20 19                      83000.000     6916.€67     319 231 39.9038◄6 USO                              Compone.nts

                                     003122/2019                        83'?00.000    6916.667     319.231 39.903846 USO                              Components


   Ell.IP                            00112812019                        B.3000.000    6916.667     319.231 39.903846 USO                              Compoocnu


   EMP                               00112512019                        83000.000     6916.667     319.231 39.8038◄ 6 USD                             Components

   Er.IP                            001'2512019                         83000.000     6916.667     319.231 i9.9038◄ G USO                             Components



               .. -
  EMP                               007/09/2018                         83000.000     6916.667     319.231 ~9.903846 USD                              Compoo,nts




                                                                                                                                                     Cct .,.:i.:r, ··,It

  .EMP                              0 Oo/19.'2017                       80000.000     6666.667    307.692 SM61S38 USO                                Compon~nls

  EMP                               O 07/01/2016                        60000.000     6665.667    307.692 38,461538 USO                              Components

  EMP                               0 05/26(2016                        80000.000     666G.667 307.692 S8..C6l538 USO                                Components




  EMP                               0 07120120\5                       69000.000     5750.00() 265.385 33.173077 USO                                 Componcnu
  HIP                               0 0-4/27/201S                      69000,000     !750.000     265.385 33.173077 USO                              Components

  FMP                               ,· 0-J'121?0; "



  E/IAP                             007/09/2014       0                56920.000     -'7◄ ~.333   218.223 27.3653(15 IJSO                            Components

  Ell.IP                            OOG/0◄12014                        56920.000     <7•3.333     218.923 27.365385 USO                              Components
  EMP                               005/2Gn0\4                         56920.000     47◄3.333     218.923 27.365365 USO                              Componant.s

  Ell.IP                          ·oos1011201<                         56920.000     ◄7◄3.33J     218.923 27.365365USO                               Compo11enl.5


  EMP                               005/01/201-1                       56920.000     47◄3.333 218.923 27.365385 USO                                  Components

  EMP                               0 10/07/2013      0                56920.000     47'43.333 218.923 27.365365 USO                                 Components
  EMP                               0 06122/2013      0                56920.000     ◄7'3.333     218.923 27.365385 USO                              Components

                                                                                                                                                                     t.
                                  0 10XHn.DJ2                          5G9.20000     4;'◄3.333    218.923 27 3653SS USO                              C->mpouer,\s
  EMP
                                                                                                                                                     Comp:mcf'IIS

                                  0 ¢1116120 _

 EMP                              012102/2011         0                «000.000      3666.667     169.2l1 21.153846 USO                              Components

 EMP                              0 1Z,01/2011        0               -4.C000.000    3666.067     169.231 21.15~8.CGUSO                              Components

 EMP                              o oe,2012011                         -4<4000.000 3666.661       169.231 21.15J846USO                               Components


 r·Reiurnlo $.:arch I;        Nottfy     -i




https ://hrselfserv ice.prod! b.travp.net/psc/PSHR6 l 0/EMPLO YEE/HRMS/c/ ADMINISTER...                                                                                                    8/20/2019

                                                                                       CONFIDENTIAL                                                                                       Travelers000396
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 50 of 118




                             EXHIBITJ
  Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 51 of 118
Job Data




i Ylf.:>11c
        Localion      Job lntormatiort )J Job Labor ·jj Eayroll jj ~;liry Plan       ii ~omti.'.!11sa1ionI
 Brent Lindsey                                                                     errip1 10 0011ass56
 Emptoyee                                                                      Empl Record O

  Job )l)fonnarion Deta.lls                                                                                                                                Fir11 1 31 of 36   • LHI

                                                                                                                                                               Go To Row
                        Eflectivc. Cate 10101/2012
                   Effe:c.tfv~Sequence       O                                                               Ac.tion Pay R3lc Change
                            HR Statu!.       Active                                                          Ruson      l')=re.a.sl'Ou~ 10 F"rcm.:.:1wr,
                        Pay,oll Status Aaive                                                           Job Indicator Pnmary Job


                            •Job Code ~M1866 -:___                       Q.      Clum Rep. Traifle-e
                            Entry Date- filiis,2012                      Et
                      Supervisor    Level                                0..
                                                         3;::===~IQ.
                         Supon,;sor 10;;'po;:,:;:26;:2;::,=,


                   "Regularrrempor-.ry JRegufar                          vj
                           Empl
                             Class~=:::::::::::::::~                                           •fulllPan
                                                                                                     j~F;:ul!-:T-.::":::::::::::v::!
                                                                                          •offlcerCodtlNone                            vi
                         "Regul.r Shih j1s1 Srtlr, - No OUY-NIA          vi                   Shift
                                                                                                Rat•:=========.
                                                                                            Shift Fictor~-------~
     Standard Ho~rs
                       Standard Hours

                                      FTE~               1.000000

    Contra.ct Number
                      Contr.et Number        r ~-             - --,Q.                                               Nell't Con1t,11ct
                                                                                                                                   Number

                         Contr1c:1 Type


     E!.lornil

     ~ Unlred Kingdom
   1 IE!lusA

   1 EJc.nad:i


   Job Oita                         EmJ>'o:,,ment
                                               Data                                                                            eenerts P109ram Partlc:ipatM)('I



~             l    Retum to Surch       fi       Nohfy   !;     Refrnh                                          Upd&leJU11,play                                    Cotuct Hi1olory

Wert Loc:at1onJ Joe lnlonNt,on     I Job Labo, I PtyrohI Salary Plan I Compensation




https ://hrselfserv ice. prod Ib.travp.net/psc/PSHR6 l 0/EMPLOYEE/HRMS/c/ ADMINISTER...                                                                                               8/20/201 9

                                                                                      CONFIDENTIAL                                                                                    Travelers000390
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 52 of 118
Job Data



                                                                                                                                                                                                              New Window
I ~uk Loc.1t1on nJob lnronnatlon                    JOb          _e1yrol I! §al~ry P1~n I!,ornp~OHtion I
                                                          1.:ia;;;-i1
 Brent.Lindsey                                                                                Empt JD 0:'.>1788636
 Employn                                                                                  Empl Record O

  Job tnfomtation        Dttails                                                                                                                         Find       Fir~t        t   21 of 3G   I   l.HI

                           Eftectlvc Oa.te 03123/1015                                                                                                                        Go To Row

                      errcc1ive Stqutnce        1                                                                         Action Pay Rfll~ Chanoe
                               HR Stat.us At.tivt                                                                        Rtuon     11'1.:;uuaOvt lo P,cmo1,;;n
                           P1yroll Sntus        A<.trve                                                            Job Indicator   Pumary Joo



                               ·JobCode~:£:..3!             ........
                                                                 ~-         _     _!q       Claim Rep Tr.ainH Outside Prop
                               Entry Datt '03/23/)015                              •!J,
                         Supervbor Ltvtl L______                           ~(l,




                      •Rtgular/T empor1ry       ~jR:•::gul::•:':::::::::::":::' "Fu111P1rt
                                                                                      ~I
                                                                                      F~•::••:::n::"':::•
                                                                                              :::::::::::;":::'
                              Em~I
                            •Re.gulir
                                      Clan::::;::::======="::::::
                                        !ut No Dlff. NIA vJ
                                       Shift         Snift.
                                                            "OfficerCodt'.:I
                                                                      N::o::ne:::::::======="::,I
                                                                                                         Shit\ Rttit/


     Stanaard Hours r•
                                                                                                       Shift fae1or.;:   :::::::~=-=_=~~=:::;_;
                          St.111Card Hours                    ··--~:00                                 WoricPuiodW               '~Wukly
                                        FTE~                   1.000000

     Contr1.cr Number
                         Contr•ct 'Numberr,__-___                      _                                                     Nnt   Conlr■a Numbf:r

                            Contract Type

   t-0:ernll

   J ~ Unhed Kingdom




   l"·   El C1n•<1a
  JobOala                              Etnploymeni Oita                                   Earnings OistribuUon                             Benefits Ptograrn PV\k;ipanon




~I             I     Return to Snreh       j~                  I       Rttruh     !                                         UpaittJOisplay            IDC.kto.tHJilory   ·   I       Carree:Htstory I
Work LoaUo"        I Job lnJonn1UonI Job Labor I Payrotl I Silary Plart JCompennt14?n




https://hrselfservice.prodlb.travp.net/psc/PSHR6 l 0/EMPLOYEE/HRMS/c/ADMlNISTER...                                                                                                                         8/20/2019

                                                                                                  CONFIDENTIAL                                                                                             Travelers000380
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 53 of 118
Job Data



                                                                                                                                                                                                   NewWIOdow
f ~Clfk Loc111on Ji Job lnform&lion          fl Job b_abor IIE:ayrc;.11j! §.::.,aryPlan !i ~ornpens,11-0flI
    Brent Lindsey                                                                        Empl ID 001788636
 e..,~•                                                                              Empl Record 0

    Job lnfonnttlon Oetalls. -,                                                                                                                               Finl    "' 17 of 36   '    La11

                                                                                                                                                                     GoToRo~        "]
                           Eftec1iw o~u~ 10J01J.2015
                      Effec1ive St:qu~nce     1                                                                     Ac1ton Pay R&te:Cha~e
                               HR Sf.1tu.s Actrve                                                                  Re:Json ln.:rt.Ht Out to Pr~~:)i,,,m
                           Payroll St4itUS Acl.vt                                                            Job lne'icator Frimilry Jclb

                                                                                         ··--------                      ---------                                      Hl.:ory   CJ
                                  •Job Code :C"'-"3<-'-'66.C...
                                                        __      _                      Claim Rep 0Lrts.de Propeny f
                               Entry Cite~-:---=                              'ii·
                        SupervtsO, Ltvtl     L. ______              u   __    Jo.
                            Supervisor lO :00~1_1,_1_s6_S
                                                   ____                      ~JO.      Joseph Salemo


                                                                                                     •f             ::::::::::"'::;!
                                                                                                          uUTPart~IF;:u:•·:Tv,:':•

                           •Rt.guUr Shift    I1st Shin· No Oiff • NIA         vi
                                                                                                •orncu Code ':I
                                                                                                     Shift Rate
                                                                                                                  N::o::"'======="'=.I
                                                                                                 Shin     f..actor:========:::::
                          St,ndard Hours     ===-=-=•::::0::::00::,                                                      :l. Weekly
                                         FTE -·   ___ 12_0~00!

      Contract Number         .
                        Contract Number

                           Contr.1ct Type

         marazll
     t ~ Unhed Kingdom

         ,SuSA
                      -----··------------------.                                                           ---·------- -------
     1    El Canada
    Jclb01l3                           Empklymentoat,                                E1rn1AgsC.stnbution                              Beneru Program Particip,elion



:        Saw ! j   Return lo Searen        I~                Rerrinh                                                   UpdatelOisptay           loc.tude History         Corr~c.t History

Work Location I Jab lnloon1t10n I Job Lat>or I P~ronI ealary Pl.a.nI Compcns,t;on




https ://hrselfservice.prodl b .trav p.net/psc/PSHR6 l 0/EMPLOYEE/HRMS/c/ ADMil•HSTER...                                                                                                        8/20/2019

                                                                                             CONFIDENTIAL                                                                                       Travelers000376
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 54 of 118




                              EXHIBIT K
  Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 55 of 118
Job Data



                                                                                                                                                                                                    New Window
I ~I011itLOC.a1'on iJ Job Information        ll Job J..abor U ~•yroll j! §.alary Pl•n I! ~ompenullon           J

  Brent.Lindsey                                                                      Empl JO 001lS8636
 En-:plO)'ce                                                                    Empl Ritco..-d 0

  Job Information De:t.ills ?                                                                                                                       F111d      Firsl    1
                                                                                                                                                                            12 of 36   1
                                                                                                                                                                                           lut

                         Effedive 0.11e 04101r.t01e
                                                                                                                                                                       Go To Row

                   Effecth,c Sequence o                                                                            Action   Pat Re1e Change
                                 HRSu,tus AC1111t                                                                  Ruwn     41c"tt
                         Payroll s1,1u, Aaive                                                              Job Jnditator    Pnma,y Job



                                 ~Job Cod•   ~------1a_                            5r Claim Rep Ovt)tde Prop F
                                 EruryOatt ·~----l"';;
                      Supprvilior L._vel     L                             0.
                          Supervi-101 IO     ;;:no;,;s:::,5;;;:;n;:::====:,<l.
                                                                      .K.ithPearman

                  •ReguturTemporary          ~IR_•s~""-'------"~i                                                   T:in:1•:::::::::::":::j
                                                                                                 •F1,1II/Pa:rq~F;:ul=l·
                            EmplCIUs                                       v                'Officer Code INone                             vf
                         •Regular Shift      jt. Da)' (Mon - Fri): No 0.ff vj                      Shin R...   ====-====i==
                                                                                              Shitt Fac:torL        ---·-=-=:J
     Standard liours      ..,,
                        Standard Hours _____             • ·- ~

                                        FTE!             1.000000!
     Contract N~mber

                      Con1ract Number        c_·_ -===--=
                                                      <~                                                              Nell\ Contra~ Number

                         Co"c~ct Tv,a

   l t!lernll

   t ~ United Kingdom
   -----~-------------------                                                        ·-------·
   1 DusA


     .. - ----.~
   t FJcanada


                                       Employment Oa1a                          Eamings DisltR)ulion                                 Benefits Pr09r•m Particlp,atran




~I                Re1urn10Search          lf~II               Rl!fre,ri                                               Upd.a:teOliplay            lncluda Hl1t0ry            Correct Kis,tory

Wort.t..ocalionI Job lnform•t!Ol'I( Job Labor I Payro8 ( Salary Plan I Co:npepsa\iof,




https://hrselfservice.prodlb.travp.net/psc/PSHR6                                                        l 0/EMPLOYEE/HRMS/c/ ADMINISTER...                                                       8/20/2019

                                                                                         CONFIDENTIAL                                                                                            Travelers000371
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 56 of 118




                               EXHIBIT L
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 57 of 118

                                    Atkinson Baker, Inc.
                                      www.depo.com

                                                                                    age 1
 1                     AMERICAN ARBITRATION ASSOCIATION

 2

 3
                                                                )
 4   BRENT LINDSEY,      an individual,                         )AAA Case No.:
                                                                )01-19-0004-6106
 5                                        Claimant,             )
                                                                )
 6               vs.                                            )
                                                                )
 7   TRAVELERS COMMERICIAL INSURANCE                            )
     COMPANY, Inc.   a Connecticut                              )
 8   Corporation,  et al.                                       )
                                                                )
 9                                        Respondents,          )
                                                                )
10                                                              )
     ---------------------
11

12                                  DEPOSITION OF

13                                   DAVID GOSNEY

14                             November       18TH,      2020

15

16

17

18

19
     ATKINSON-BAKER, INC.
20   (800) 288-3376

21

22

23   REPORTER BY:                             JESSIECA      J.      PATE, CSR NO. 11793
     FILE NO.:                                AE08272
24

25



                                      David Gosney
                                    November 18, 2020
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 58 of 118

                                                              Atkinson Baker, Inc.
                                                                www.depo.com

                                                       Page 30                                                                                Page 31
    1 was -- my assumption was he stopped me to say he was                  1        A        I did not.
    2 quitting.                                                             2        Q        Okay. And why not?
    3     Q   Now, do you, um, why•· did you inquire as to                  3        A        I don't recall.
    4 why he was quitting?                                                  4        Q        Thank you.
    5       A      I did not.                                               5                Is - is it•· how did you like Brent as a
    6       Q      Did you ask him if there was something wrong?            6 person?
    7       A      I did not.                                               7        A        I liked Brent as a nice person. I thought he
    8       Q      Okay. Did it occur to you that maybe you were            8   was a nice person.
    9 giving him too much communication all at once?                        9        Q        Did you•·
   10       A       I was providing information to him as he was           10            A     Still think he's a nice person.
   11 receiving claims so that he would know why a claim may be            11            Q     - want him to leave?
   12 received in a different area than he was used to getting.            12            A     I did not.
   13       Q       Okay. Thank you.                                       13            Q     Have you ever - did you ever communicate that
   14              Now, in what manner had you been speaking               14 to him?
   15 to him?                                                              15        A         I did not.
   16       A       In a normal manner like I typically do.                16            Q     Okay. All right. I'm going to take about two
   17       Q       Okay. Now, do you feel like you were speaking          17 minutes here to see if there is anything more - I tell you
   18 in a manner that he can easily receive?                              18 what, we're going to take like a, um, ten minute break and I
   19       A      Yes.                                                    19 want to review my notes to see if there is anything more I
   20       Q       Now, why do you say that?                              20 want to ask.
   21       A      It was my •· I normally speak with him and              21                 So, let's go off the record right now if
   22   anybody else that I am normally speaking with.                     22 that's all right with everybody.
   23       Q       Okay. Now, did it occur•· did you --1 guess            23        MR. O'MALLEY: Okay. When would you like to come
   24   I already asked this. Did you at that point try to find out        24   back on?
   25 why he was upset?                                                    25        MR. KOTTKE: Let's come back at 12:40 my time.

                                                                 Page 32                                                                      Page 33
    1 That's specific time.                                                1 this.
   2        MR. O'MALLEY:       Okay.                                      2                 About how many outside property claims
   3                                                                       3 representatives were there in the Northern California
   4     (Whereupon, proceedings were recessed for a break.)               4 area in, say, 2018?
   5                                                                       5         A       I don't know.
   6        Q     BY MR. KOTTKE: All right. Thank you                      6         Q       Would you say it was around 30?
   7 Mr. Gosney.         I'm ready to go on the record again. Couple       7         A       More or less.
   8 other questions.                                                      8         Q       Okay. And how many of those People were
   9              This log that we were just reading from,                 9 African American?
   10 was this a log that you made as the events occurred or               10        A        I don't know.
   11 was that something you wrote as the events occurred?                 11        Q        Would you say it was more than five?
   12       A      That is something that I made right after, um,          12        A        I don't know.
   13 it was during that week.                                             13        Q        Okay. Was Brent the only one?
   14       Q      All right. Were you asked to write all this             14        A        No.
   15 up?                                                                  15        Q        Who was the other one?
   16       A      I was recording it, yes. I was asked to.                16        A        I know there was at least one, there was more
   17       Q      All right. Who asked you to write this up?              17 than one African American in our team, Patricia Trawick was
   18       A      I'm trying to recall here. It was suggested             18 on our name.
   19 that I keep a log of the actions from my supervisor.                 19        Q        All right. How do you spell that last name,
   20       Q      Oh, okay. Who was your supervisor?                      20 if you know? It doesn't matter, but the reporter is going
   21       A      Peggy Stephens.                                         21 to write something down.
   22       Q      Oh, okay. Thank you. Did she say why?                   22        A       T-r-a-w-i-c-k.
   23       A      No.                                                     23        Q        Okay. Can you think of any other claims
   24       Q      Okay. One other question here. You were, um             24 representative who was African American at Travelers at that
   25 •· were you aware•·       in contact or - well, let me rephrase      25 time?



                                                                David Gosney
                                                              November 18, 2020                                                               30 ..33
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 59 of 118

                                                               Atkinson Baker, Inc.
                                                                 www.depo.com

                                                                     Page 34                                                                          Page 35
   1         A       Not off the top of my head.                                 1 much money is •· is there any -- I'll do that again.

   2         Q       Thank you.       All right. Just want to take a             2                   How much money would a merit raise

   3     moment here. Make sure I didn't miss anything.                          3       normally be, if that can stating?

   4                                                                             4           MR. O'MALLEY: Objection to the form.

   5                  (Pause in the proceedings.)                                5           Q       BY MR. KOTTKE: All right. How much is one of

   6                                                                             6 your merit raises?
   7         Q       BY MR. KOTTKE:        Oh, yes. I have one question.         7           A        $2,500.
   8     Are you familiar with the concept of a merit raise?                     8           Q        Okay. And another one?

   9         A       Yes.                                                        9           A        I don't know the exact amounts of my merit

   10         Q       And what is a merit raise?                                 10 raises.
   11         A       It's an increase in salary.                                11           Q       All right. But about $2,500, is about what

   12         Q       All right. And is it, um -- all right.   How               12 your merit raises were?

   13    long have you worked at Travelers?                                      13           A       I don't know exactly how much my merit raises

   14         A       Approximately six years.                                   14 were.
   15         Q       How many merit raises have you received in                 15           Q        Oh, okay. Now, in 19··· um, let's see here.

   16    that six years?                                                         16 Was there a time when you were •· had the same job as Brent?

   17         A       I don't know.                                              17           A       Yes.
   18         Q       Is It three, more than three?                              18           Q        And when was that?

   19         A       I would say-- I don't know. I mean, I don't                19           A        Before my transition in July, 2018.

   20     know.                                                                  20           Q        July, 2018. And what was your salary at that

   21         Q       All right. Well, is it more than five.                     21 time?

   22         A       I don't think so.                                          22           A        I don't recall.

   23         Q       All right. Somewhere       between three to five?          23           Q        Was it more than hundred thousand?

   24         A       That sounds about accurate.                                24           A        No.
   25         Q       Okay.    And how much-·       is a merit raise •· how      25           Q        Was it more like $80-?

                                                                       Page 36                                                                        Page 37
    1        A       That sounds more accurate.                                                               EXAMINATION
    2        a       Okay. Was 11$90-?                                            2       BY MR. O'MALLEY:
    3        A       No.                                                          3           Q        You remember you were asked about the notes
    4        Q       Somewhere between $80- and $90-?                             4 that you took in connection with Mr. Lindsey's resignation,
    5        A       Somewhere in that range.                                     5       you recall that testimony?
    6        Q        Okay. Thank you.                                            6           A        Yes.
    7                Al any •· now you were mentioning some                       7              Q      Did Ms. Stephens tell you what to write in
    8 of •• you were mentioning earlier certain things which                         8 those notes?
    9 Brent had not done properly and that you noticed during                        9           A     She did not.
   10 his leave. Was he written up for anything or was he                        10              Q       Do those notes reflect your truthful and
   11 written up for any of those things?                                        11 accurate impressions of the conversations that you were

   12         A       Not by myself.                                             12 recording?
   13         Q       Okay. Did you ever write him up?                            13             A      Yes.
   14         A       No.                                                        14               a      That's all I have.
   15            Q    Do you know of anyone who has ever written him              15              MR. KOTTKE: Thank you, Counsel.
   16 up?                                                                         16                   All right. So, we're going to -- just as
    17           A    I don't know if he was or not, I didn't do any              17 before, we'll stipulate to just following the Code of
    18 write up.                                                                  18 how this transcript is to be handled.
    19           Q    Thank you. All right. That's all I have.                       19           MR. O'MALLEY: Agreed.
    20           MR. KOTTKE: Um, do you have any questions                        20              MR. KOTTKE: That's all I have. Thank you very much.
    21 Mr. O'Malley?                                                              21                    And thank you, Mr. Gosney for taking the
    22           MR. O'MALLEY: Just a few.                                        22 time to answer my questions and thank you for being
    23           MR. KOTTKE: Okay. Cool.                                             23 direct.
    24                                                                               24           THE WITNESS: Thank you.
    25                                                                               25           MR. O'MALLEY: And Mr. O'Malley, are you ordering a



                                                                   David Gosney
                                                                 November 18, 2020                                                                      34 .. 37
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 60 of 118

                                         Atkinson Baker, Inc.
                                           www.depo.com

                                            Page 38                                                                                                Page 39
    1 copy of this transcript as well?                     l                                REPORTERS' CERT!Fl CATE
                                                           2
    2      THE REPORTER: Yes, ma'am.
                                                           3
    3
                                                           4                 !,   JESSJECA J.          PATE, CSR No. 11793,            Certified
   4           (The proceedings were concluded.)
                                                           s   Shorthand     Reporter,       certify:
   5
                                                           6                 That the foregoing            proceedings           were taken before
   6
                                                           7   me at the time and place therein                      set forth,      at which time
   7                                                       8   the witness        was put under oath by me;
   8                                                       9                 That the testimony            of the witness,            the questions
   9                                                  10       propounded and all objections                and statements           made at the
   10                                                 11       time of the examination            were recorded stenographically                        by me
   11                                                 12       and were thereafter           transcribed;
   12                                                 ll                    That the foregoing             is a true and correct
   13                                                 14       transcript      of my shorthand          notes        so taken.
   14                                                 IS                    I further        certify     that        I am not a relative           or

   15                                                 16       employee of any attorney            of the parties              nor financially
                                                      17       interested      in the action.
   16
                                                      18                    I decla!"e under penalty                  of perjury     under the laws
   17
                                                      19       of California       that     the foregoing            is true     and correct.
   18
                                                      20                    Dated    this     11th day of December,                2020
   19
                                                      21
   20                                                 22
   21                                                 2]
   22
   23                                                 24
   24                                                                                           Jessieca        J.     Pate,   CSR No. 11793
   25                                                 25




                                           David Gosney
                                         November 18, 2020                                                                                      38 .. 39
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 61 of 118




                            EXHIBITM
           Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 62 of 118

Ralph Kottke

From:                             Ralph Kottke
Sent:                             Friday, November 13, 2020 1:11 PM
To:                               David Freedman
Cc:                               Joel O'Malley
Subject:                          FW: Lindsey v. Travelers Arbitration - Meeting at 2 on 11/16/20




Subject: Lindsey v. Travelers Arbitration - Meeting at 2 on 11/16/20

Dear Mr. Freedman,

I have some points to raise in response to Mr. O'Malley's emails to you regarding the deposition.

Yes, Cheryl Allan's depo was of her in her personal capacity and we had good cause to depo her. She was the Claimant's
Human Resources Manager the full eight years of his tenure at Respondent's. A key issue in this case is whether
Respondent engaged in an interactive process re his concerns re racial discrimination and mental and physical
disabilities and whether any accommodation was discussed and/or offered.

When beginning this depo we had the expectation that Ms. Allan had been monitoring his morale, physical and mental
wellbeing as an employee under her department. At the depo we did find some attention to this by Ms. Allan in April
2014. She holding a meeting with Claimant's supervisor and him after receiving his complaint of racial discrimination.

We expected she would have done follow up on this over time. We also expected that she would take an interest in
December 2017 and January 2018 through April 2018 when he was on medical leave. We expected she would have
something to say about how she handled these events as his HR supervisor. This is something she would have been
responding to as Cheryl Allan, not a PMK.

But it turned out she had little to say about anything she had done regarding Claimant after the meeting in 2014 until
she did her final exit interview in May 2018. This was a surprise to Claimant's counsel.

We did get much general data applicable to Travelers in the depo, it is true. But our primary focus had been to get data
about her as an individual. We just did not get much.

We ended the Cheryl Allan depo and began the PMK depo. We needed to get PMK answers. At that point we only had
Cheryl Allan answers. Of course we needed to ask questions she had already answered in the Cheryl Allan depo because
those answers were not PMK answers but Cheryl Allan answers. Counsel objected that the questions had been asked
and answered which was improper as I did not have PMK answers. Ms. Allan also refused to answer saying she had
already answered.

That leaves us with no PMK answers which Claimant has a right to. Therefore, I move that the PMK witness be ordered
to answer relevant questions as a PMK and not use the objection that she has already answered the questions in her
personal deposition.

The reference on this is CCP2025.610:
                Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 63 of 118
(a) Once any party has taken the deposition of any natural person, including that of a party to the action, neither the party
who gave, nor any other party who has been served with a deposition notice pursuant to Section 2025.240 may taAe a
subsequent deposition of that deponent.

(b) Notwithstanding subdivision (a), for good cause shown, the court may grant leave to take a subsequent deposition,
and the parties, with the consent of any deponent who is not a party may stipulate that a subsequent deposition be tal<en.

(c) This section does not preclude taking one subsequent deposition of a natural person who has previously been
examined under either or both of the following circumstances:

(1) The person was examined as a result of that person's designation to testify on behalf of an organization under Section
2025.23(;.

As far as Mr. O'Malley's statement that claimant should pay for the PMK depo. That is not proper. We had a right to
take Cheryl Allan's depo as a person and we have a right to take a PMK deposition. We had no intention to abuse Ms.
Allan or run up Respondent's costs and will make the PMK depo as efficient as possible.

As a second point, Mr. O'Malley stated in the deposition that you had ordered that testimony of Respondent's
disparate treatment against Claimant was irrelevant.

I do not believe you stated this in the Order but I imagine Counsel is referring your sustaining the following objections to
Claimant's original PMK notice:

                  •     No. 39 of the original PMK depo notice "Complaints by African Americans on YOUR staff of racial
                        discrimination";
                  •     "40. YOUR statistics of adjusters showing number of African-American adjusters compared to the
                        number of adjusters in CLAIMANT's division during relevant time periods;"
                  •     Request for Production No. 1 "All documents showing pay of other adjusters in CLAIMANT'S department
                        during relevant periods of their employment with RESPONDENT.

I therefore respectfully request you reconsider your sustaining of objections to 39, 40 and Request for Production No.
1.

Discrimination on the basis of race is a key part of Claimant's complaint. See points 11-17,53.76.78.79, 89. In particular
point 89 states "Plaintiff was denied promotion and raises, on the basis of race and national origin discrimination and on
the basis that Plaintiff complained to TCIC and TCICA about the harassment and discrimination he was
experiencing." These discovery requests are necessary for Claimant to prove his claim of racial prejudice. There were
about 35 persons in Claimant's department, the Northern California Outside Claim Representatives Department.
Claimant would be willing to limit this to year of 2018. We are also willing to have names redacted.

As far as comparative numbers of agents, this is an obvious indicator of prejudice which, coupled with other evidence,
would prove Claimant's allegation.

 Thank you for your consideration.

 Ralph A. Kottke, Esq.
 Lipcles Law Group, APC
 880 Apollo St., Ste. 336
 El Segundo, CA 90245
 (310) 322-2211
 (3 I0) 322-2252 fax

 Privileged and Confidential Communication
 This electronic transmission, and any documents attached hereto, (a) are protected by the Electronic Communications Privacy Act ( 18 USC§§ 2510-2521 ), (b) may contain
 confidential and/or legally privileged infonnation, and (c) are for the sole use of the intended recipient named above. If you have received this electronic message in error, please

                                                                                            2
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 64 of 118




                               EXHIBIT N
                Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 65 of 118
I am missing a copy of an order that you made following a discovery conference we had on 11/16/20. It would have
dealt with the Cindy Allan PMK depo and some discovery requests I had made.

I would be grateful if you would email me a copy.

Sincerely,

Ralph A. Kottke, Esq.
Lipclcs Law Group, APC
880 Apollo St.. Ste. 336
El Segundo, CA 90245
(310) 322-2211
(310) 322-2252 fax

Privileged and Confidential Communication
This electronic transmission, and any documents attached hereto, (a) are protected by the Electronic Communications Privacy Act ( 18 USC §§ 2510-2521 ), (b) may contain
confidential and/or legally privileged infonnation, and (c) are for the sole use of the intended recipient named above. If you have received this electronic message in error, please
notify the sender and delete the electronic message. Any disclosure, copying, distribution, or use of the contents of the information received in error is strictly prohibited. If you
have received this communication in error, please notify us immediately by telephone, and delete the original message and destroy all copies.




                                                                                            2
                Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 66 of 118

Ralph Kottke

To:                                                 David Freedman
Cc:                                                 'Joel O'Malley'
Subject:                                            RE:AAA Case 01 19 0004 6106 - Lindsey v Travelers
Attachments:                                        2020.11.13 Letter to Arbitrator page 1.pdf; 2020.11.13 Letter to Arbitrator page 2.pdf



Dear Arbitrator Freedman,

Now I recall. You are right. There was no written order made after the November 16 hearing.

However, on November 13 I had sent in the attached email. I made motions for reconsideration regarding topics and
requests for production in my Person Most Knowledgeable notice. Respondent's counsel had previously objected to
these topics and requests. You had earlier sustained his objections in Discovery Order No. 1.

In the email I now moved for reconsideration. I asked that topics 39 and 40 and RFPNo. 1 be reinstated.                                                           In the hearing
you addressed my motions and denied them. Does that accord with what you recall?

Sincerely yours,

Ralph A. Kottke, Esq.
Lipelcs Law Group, APC
  80 Apollo St.. Ste. 336
El Segundo, CA 90245
(310) 322-2211
(310) 322-2252 fax

Privileged and Confidential Communication
This electronic transmission, and any documents attached hereto, (a) are protected by the Electronic Communications Privacy Act (IR USC§§ 2510-2521), (b) may contain
confidential and/or legally privileged information, and (c) are for the sole use of the intended recipient named above. If you have received this electronic message in error, please
notify the sender and delete the electronic message. Any disclosure, copying, distribution, or use of the contents of the infonnation received in error is strictly prohibited. If you
have received this communication in error, please notify us immediately by telephone, and delete the original message and destroy all copies.




From: David Freedman <dgf@dfreedman.net>
Sent: Friday, January 8, 2021 6:19 PM
To: Ralph Kottke <ralph@kallaw.com>
Cc: 'AAA Jose Guerrero' <JoseGuerrero@adr.org>; 'Joel O'Malley' <J0Malley@nilanjohnson.com>;                                                           'Nicole F. Dailo'
<ndailo@nilanjohnson.com>
Subject: RE: AAA Case 0119 0004 6106 - Lindsey v Travelers

My records do not show I issued an order after the Nov 16 conference.

From: Ralph Kottke <ralph@kallaw.com>
Sent: Friday, January 8, 2021 3:38 PM
To: David Freedman <dgf@dfreedman.net>
Subject: FW: AAA Case 0119 0004 6106 - Lindsey v Travelers

Dear Arbitrator Freedman,
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 67 of 118




                             EXHIBIT 0
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 68 of 118


 1    Kevin A. Lipe Ies (Bar No. 244 275)
      Thomas H. Schelly (Bar No. 217 285)
 2    Ralph A. Kottke (Bar No. 287363)
      LIPELES LAW GROUP, APC
 3    880 Apollo Street, Suite 336
      El Segundo, California 90245
 4    Telephone: (310) 322-2211
      Fax: (310) 322-2252
 5
      Attorneys for Claimant,
 6
      BRENT LINDSEY
 7

 8
                           AMERICAN ARBITRATION ASSOCIATION
 9

10   BRENT LINDSEY, an individual,                  AAA CASE NO. 01-19-0004-6106

11                     Claimant,                    CLAIMANT'S SPECIAL
                                                    INTERROGATORIES TO
12   vs.                                            RESPONDENT (SET TWO)
13
     TRAVELERS COMMERCIAL
14   INSURANCE COMPANY, a Connecticut
     corporation; TRAVELERS CASUALTY
15   INSURANCE COMP ANY OF AMERICA,
16   a Connecticut corporation, PEGGY
     STEPHENS, an individual; and DOES 1
17   through 100, inclusive,

18                  Respondents.
19

20          PROPOUNDING PARTY:                BRENT LINDSEY
21          RESPONDING PARTY:                 TRAVELERS INDEMNITY COMPANY
22          SET NO.:                          TWO
23

24          PLEASE TAKE NOTICE that Claimant hereby requests, pursuant to Code of Civil Pro-

25   cedure §2030.010 et seq., that Respondent Travelers Indemnity Company answer the following

26   Special Inte1Togatories in writing, under oath, and serve the answers demanded herein within

27   the time frame specified by the Code of Civil Procedure at Lipeles Law Group, APC, located at
28   880 Apollo Street, Suite 336, El Segundo, California 90245.


                                                                                                    1
                CLAIMANT'S SPECIAL I TERROGATORIES TO RESPONDENT (SET TWO)
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 69 of 118



1
                                    SPECIAL INTERROGATORIES
2
     SPECIAL INTERROGATORY NO. 12:
3
             State the ANNUAL SALARY of CLAIMANT in for 2019.
4
             For purposes of these interrogatories, the following definition shall apply:
5
             "CLAIMANT" shall mean Claimant Brent Lindsey.
6            "YOU" or "YOUR" shall mean the person or entity to whom this Special Interrogatory
7    is directed.
8            "ANNUAL SALARY" shall mean the base gross annual monetary compensation paid
9    to an employee in a year. It does include overtime.
             "PROPERTY OUTSIDE CLAIM REPRESENTATIVE" shall mean a Defendant rep-
11   resentative working in the field in Northern California area investigating and settling property
12   claims against Defendant.
13           "NORTHERN CALIFORNIA" means Sacramento, San Francisco, Oakland and Mod-
14   esto areas.
15   SPECIAL INTERROGATORY NO. 1:
16           State the ANNUAL SALARY of all PROPERTY OUTSIDE CLAIM REPRESENTA-
17   TIVES in the Northern California area in 2018.
18

19                                              LIPELES LAW GROUP, APC

20    Date: November 2, 2020

21

22
                                                     Ralph A. Kottke
23                                                   Attorneys for Claimant
                                                     Brent Lindsey
24

25

26

27

28


                                                                                                        2
                    CLAIMANT'S SPECIAL INTERROGATORIES TO RESPONDENT (SET TWO)
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 70 of 118




                              EXHIBIT P
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 71 of 118



 1    Kevin A. Lipeles (Bar No. 244 275)
      Thomas H. Schelly (Bar No. 217 285)
 2    Ralph A. Kottke (Bar No. 287363)
      LIPELES LAW GROUP, APC
 3    880 Apollo Street, Suite 336
      El Segundo, California 90245
 4    Telephone: '(310) 322-2211
      Fax: (310) 322-2252
 5
      Attorneys for Claimant,
 6
      BRENT LINDSEY
 7

 8
                            AMERICAN ARBITRATION ASSOCIATION
 9
10   BRENT LINDSEY, an individual,                     AAA CASE NO. 01-19-0004-6106

11                      Claimant,                      CLAIMANT'S REQUESTS FOR
                                                       PRODUCTION TO RESPONDENT
12                                                     {SET TWO)
     v-s.
13
     TRAVELERS COMMERCIAL
14   INSURANCE COMP ANY, a Connecticut
     corporation; TRAVELERS CASUALTY
15   INSURANCE COMP ANY OF AMERICA,
16   a Connecticut corporation, PEGGY
     STEPHENS, an indfvi'dual; and DOES I
17   through 100, inclusive,

18                   Respondents.
19

20           PROPOUNDING PARTY:                 BRENT LINDSEY
21           RESPONDING PARTY:                  TRAVELERS INDEMNITY COMPANY
22           SET NO.:                           TWO
23

24           Pursuant to §§2031.010 et seq. of the Code of Civil Procedure, Claimant Brent Lindsey
25   hereby demands that Respondent Travelers Indemnity Company answer under oath these re-

26   quests for production, no later than 30 days after the effective date of service of this Request.

27   The place of inspection shall be the Lipeles Law Group, APC, 880 Apollo Street, Suite 336, El
28   Segundo, California 90245.


                                                                                                         l
                CLAIMANT'SREQUESTS FOR.PRODUCTIONTO RESJ>ONDENT
                                                              (SET TWO)
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 72 of 118



1
                                            INSTRUCTIONS
2
             1.     As a general rule, within 30 days after you are served with these requests, you
3
     must serve your responses together with all responsive DOCUMENTS on the asking party and
4
     all other parties to the action who have appeared.
5
            2.      Whenever a claim of privilege is made in response to any discovery request pur-
6    suant to §2031.240(b) of the Code of Civil Procedure, the materials or information claimed to
7    be privileged shall be identified•with reasons stated for the privilege claimed.
8           3.      Responses should set forth the request in full before the response. Each objec-
9    tion should be followed by a statement of the reasons therefore.
10

11                                            DEFINITIONS
12
13           For the purposes of these requests for production, the following definitions shall apply:
14           1.    "ALL" means each, every, and any.
15           2.    "YOU" and "YOUR" mean and refer to the person or entity to whom this request
16   for production is directed.
17           3.    "CLAIMANT" means and refers tQ the party serving this request for production.
18           4.      "W-2" shall mean the DOCUMENT provided by YOU to an employee show-
19                  ing his income for the previous year. The employee uses this DOCUMENT to
20                  report his income to the Internal Revenue Service for his taxes.

21           5.       "PROPERTY OUTSIDE CLAIM REPRESENTATIVE" shall mean a D~fend

22                  ant representative working in the field in Northern California area investigating

23                  and settling property claims against Defendant.

24           6.     "NORTHERN CALIFORNIA" means Sacramento, San Francisco, Oakland and

25           Modesto areas.

26

27

28

                                                                                                         2
                  CLAIMANT'S REQUESTS FC>RPRODUCTION TO RESPONDENT(SET TWO)
     Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 73 of 118


 1
                       DEMAND FOR PRODUCTION OF DOCUMENTS
 2
     REQUEST FOR PRODUCTION NO. 23:
 3
            The W-2's of ALL "PROPERTY OUTSIDE CLAIM REPRESENTATIVES in for the
 4
     year of 2018.
 5

 6
                                        LJPELES LAW GROUP, APC
 7    Date: November 2, 2020
 8

 9
                                        By: __________               _
10

11                                         Ralph A. Kottke
                                           Attorneys for Claimant
12                                         Brent Lindsey

13
14
15

16
17
18

19

20

21

22
23
24

25

26

27
28

                                                                                  3
                CLAIMANT'S REQUESTS FOR PRODUCTION TO RESPONDENT (SET TWO)
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 74 of 118




                               EXHIBITQ
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 75 of 118




                          AMERICAN ARBITRATION ASSOCIATION


 Brent Lindsey, an individual,                                Case No. 01-19-0004-6106

                                 Claimant,

 V.

 Travelers Commercial Insurance Company,
                                                          RESPONDENT THE TRAVELERS
 a Connecticut corporation; Travelers                       INDEMNITY COMPANY'S
 Casualty Insurance Company of America, a                  RESPONSES TO CLAIMANT'S
 Connecticut corporation; The Travelers                   REQUESTS FOR PRODUCTION,
 Indemnity Company; and Peggy Stephens,
                                                                   SET TWO
 an individual,

                                 Respondents.


To:      Claimant Brent Lindsey and his attorneys, Kevin Lipeles, Thomas Schelly and Ralph A.
         Kottke, Lipeles Law Group, APC, 880 Apollo Street, Suite 336, El Segundo, CA 90245:

         Pursuant to California Code of Civil Procedure §§ 2031.0 I 0, et seq., Respondent THE

TRAVELERS INDEMNITY COMPANY responds to Claimant BRENT LINDSEY's                          Requests

for Production as follows:

                 PRELIMINARY STATEMENTS AND GENERAL OBJECTIONS

         The following Preliminary Statements and General Objections are generally applicable to

all of Claimant's     Requests for Production and are incorporated into each of Respondent's

Responses to Claimant's Requests for Production:

          I.      Respondent's   search for information    and documentation   in connection   with

Claimant's Requests for Production has been conducted with the necessary degree of diligence to

locate responsive information and documents, and discovery is ongoing.         All of the responses

contained herein are based only on such information that is presently available to and specifically

known to Respondent.

         2.       The following responses are given without prejudice to Respondent's       right to

produce evidence of any subsequently discovered fact or facts that it may later develop. The

responses contained herein are made in a good faith effort to supply as much factual information



4842-5070-4312
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 76 of 118




as is presently known, but should in no way be to the prejudice of the Respondent in relation to

further discovery, research, or analysis.

         3.       Responses to Claimant's Requests for Production are made without intending to

waive or waiving, but, to the contrary, intending to preserve and preserving: (i) all questions as to

competency, relevancy, materiality, privilege, and admissibility as evidence for any purpose, of

any of these Responses or the subject matter thereof, in any subsequent proceeding in this or any

other action; (ii) the right to object to the use of any of these Responses or the subject matter

thereof in any subsequent proceeding in this or any other action; and (iii) the right to object on any

ground at any time to a demand for further Responses to Claimant's Requests for Production or to

any other discovery procedures involving or relating to the subject matter of Claimant's Requests

for Production.

         4.       Respondent objects to the Requests for Production to the extent they seek privilege

or confidential information, including information encompassed by the attorney-client privilege,

work product doctrine, or to the extent they seek to invade the privacy interests of Respondent and

non-parties to this action.

         5.       Respondent's    inadvertent production of any privileged information is not to be

deemed a waiver of any applicable privilege or protection, and Respondent reserves the right to

object to the introduction or other use of any privileged material or information that inadvertently

may be produced.

         6.       Respondent     objects to each Request for Production to the extent it seeks

information protected by the constitutional, statutory, or common law rights to privacy of any

person or entity.

         7.       Respondent objects to each Request for Production to the extent that it calls for

information containing or constituting proprietary and/or confidential business information.

         8.       Respondent objects to the Requests for Production to the extent they seek

information equally available to Claimant or already in Claimant's possession, custody, or control.




                                                   2
4842-5070-4312
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 77 of 118




         9.      Respondent   encourages   further discussion    between counsel     regarding these

General Objections and specific objections to the Requests for Production with the expectation

and hope that such discussions can lead to further agreement regarding any disputes related to

discovery.

         Subject to the foregoing general comments and objections, which are incorporated by

reference into Claimant's responses to each one of the specific Requests for Production, Claimant

provides the following Responses:

                      RESPONSES TO REQUESTS FOR PRODUCTION

         REQUEST FOR PRODUCTION NO. 23: The W-2's of ALL "PROPERTY OUTSIDE

CLAIM REPRESENTATIVES in for the year of 2018.

         RESPONSE: Respondent objects to this Request as overly broad; as seeking information

irrelevant to Respondent's claims; as unwarranted annoyance, embarrassment, or oppression, or

undue burden and expense; as so remote from the subject matter of this action as not reasonably

serving the purpose of pretrial discovery; and as violative of third-parties' rights to privacy.



                                            NILAN JOHNSON LEWIS PA

 Dated: December 2, 2020                    By: Isl Joel O 'Mallev
                                                Joel O'Malley (SBN 262958)
                                                Nicole F. Dailo (SBN 301499)
                                                250 Marquette A venue South, Suite 800
                                                Minneapolis, MN 55401
                                                Phone: 612-305- 7500
                                                 Fax: 612-305-7501
                                                jomalley@nilanjohnson.com
                                                ndai lo@n ilanjohnson.com

                                            ATTORNEYS FOR RESPONDENTS




                                                   3
4842-5070-4312
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 78 of 118




                          AMERICAN ARBITRATION ASSOCIATION


 Brent Lindsey, an individual,                               Case No. 01-1 9-0004-6106

                                 Claimant,

 v.

 Travelers Commercial Insurance Company,               RESPONDENT THE TRAVELERS
 a Connecticut corporation; Travelers
                                                     INDEMNITY COMPANY'S ANSWERS
 Casualty Insurance Company of America, a                TO CLAIMANT'S SPECIAL
 Connecticut corporation; The Travelers                INTERROGATORIES, SET TWO
 Indemnity Company; and Peggy Stephens,
 an individual,

                                 Respondents.


To:      Claimant Brent Lindsey and his attorneys, Kevin Lipeles, Thomas Schelly and Ralph A.
         Kottke, Lipeles Law Group, APC, 880 Apollo Street, Suite 336, El Segundo, CA 90245:
         Pursuant to California Code of Civil Procedure § 2030.0 I 0, et seq., Respondent THE

TRAVELERS         INDEMNITY COMP ANY responds to Claimant BRENT LINDSEY's                   Special

Interrogatories as follows:

                 PRELIMINARY STATEMENTS AND GENERAL OBJECTIONS

         The following Preliminary Statements and General Objections are generally applicable to

all of Claimant's Special Interrogatories and are incorporated into each of Respondent's Answers

to Claimant's Special Interrogatories:

          I.      Respondent's   search for information   and documentation    in connection   with

Claimant's Special Interrogatories has been conducted with the necessary degree of diligence to

locate responsive information and documents, and discovery is ongoing.        All of the responses

contained herein are based only on such information that is presently available to and specifically

known to Respondent.

         2.       The following responses are given without prejudice to Respondent's       right to

produce evidence of any subsequently discovered fact or facts that it may later develop. The

responses contained herein are made in a good faith effort to supply as much factual information



4842-5070-4312
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 79 of 118




as is presently known, but should in no way be to the prejudice of the Respondent in relation to

further discovery, research, or analysis.

          3.      Respondent's Answers to Claimant's      Special Interrogatories are made without

intending to waive or waiving, but, to the contrary, intending to preserve and preserving: (i) all

questions as to competency, relevancy, materiality, privilege, and admissibility as evidence for

any purpose, of any of these Answers or the subject matter thereof, in any subsequent proceeding

in this or any other action; (ii) the right to object to the use of any of these Answers or the subject

matter thereof in any subsequent proceeding in this or any other action; and (iii) the right to object

on any ground at any time to a demand for further answers to Claimant's Special Interrogatories

or to any other discovery procedures involving or relating to the subject matter of Claimant's

Special Interrogatories.

         4.       Respondent objects to the Special Interrogatories to the extent they seek privilege

or confidential information, including information encompassed by the attorney-client privilege,

work product doctrine, or to the extent they seek to invade the privacy interests of Respondent and

non-parties to this action.

          5.      Respondent's    inadvertent production of any privileged information is not to be

deemed a waiver of any applicable privilege or protection, and Respondent reserves the right to

object to the introduction or other use of any privileged material or information that inadvertently

may be produced.

         6.       Respondent objects to each Special Interrogatory to the extent it seeks infonnation

protected by the constitutional, statutory, or common law rights to privacy of any person or entity.

         7.       Respondent objects to each Special Interrogatory to the extent that it calls for

information containing or constituting proprietary and/or confidential business information.

          8.      Respondent     objects to the Special Interrogatories    to the extent they seek

information equally available to Claimant or already in Claimant's possession, custody, or control.

         9.       Respondent     objects to the Special Interrogatories    to the extent they seek

information related to or dependent upon a purported INCIDENT, which INCIDENT is undefined


                                                   2
4842-5070-43 12
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 80 of 118




by the Interrogatories, and the Complaint is so vague and ambiguous that Respondent has no good

faith, reasonable understanding about which INCIDENT these Special Interrogatories seek

information.

          10.    Respondent encourages       further discussion   between counsel regarding these

General Objections and specific objections to Claimant's            Special Interrogatories   with the

expectation and hope that such discussions can lead to further agreement regarding any disputes

related to discovery.

          Subject to the foregoing general comments and objections, which are incorporated by

reference into Respondent's responses to each one of the specific interrogatories, Respondent

provides the following Answers:

                        ANSWERS TO SPECIAL INTERROGATORIES

INTERROGATORY NO.12: State the ANNUAL SALARY of CLAIMANT in for 2019.

          For purposes of these interrogatories, the following definition shall apply:

          "CLAIMANT" shall mean Claimant Brent Lindsey.

          "YOU" or "YOUR" shall mean the person or entity to whom this Special Interrogatory is

directed.

          "ANNUAL SALARY" shall mean the base gross annual monetary compensation paid to

an employee in a year. It does include overtime.

          "PROPERTY      OUTSIDE CLAIM REPRESENTATIVE"                     shall mean a Defendant

representative working in the field in Northern California area investigating and settling property

claims against Defendant.

          "NORTHERN CALIFORNIA"            means Sacramento, San Francisco, Oakland and Modesto
areas.

          ANSWER: Subject to and without waiving the foregoing objections, Respondent answers

that Claimant's 2019 base salary, as shown on Travelers000396, was $83,000.




                                                   3
4842-5070-4312
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 81 of 118




         INTERROGATORY          NO. 13:      State the ANNUAL SALARY of all PROPERTY

OUTSIDE CLAIM REPRESENTATIVES in the Northern California area in 2018.

         ANSWER:       Respondent objects to this Interrogatory as overly broad; as seeking

info1mation irrelevant to Respondent's claims; as unwarranted annoyance, embarrassment, or

oppression, or undue burden and expense; as so remote from the subject matter of this action as

not reasonably serving the purpose of pretrial discovery; and as violative of third-parties' rights to

privacy.


                                             NILAN JOHNSON LEWIS PA

 Dated: December 2, 2020                     By: Isl Joel O 'Malley
                                                 Joel O'Malley (SBN 262958)
                                                 Nicole F. Dailo (SBN 301499)
                                                 250 Marquette Avenue South, Suite 800
                                                 Minneapolis, MN 55401
                                                 Phone: 612-305-7500
                                                 Fax: 612-305-7501
                                                 jomalley@nilanjohnson.com
                                                 ndailo@nilanjohnson.com

                                             ATTORNEYS FOR RESPONDENTS




                                                  4
4842-5070-4312
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 82 of 118




                              EXHIBITR
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 83 of 118


 1    Kevin A. Lipeles (Bar No. 244 275)
      Thomas H. Schelly (Bar No. 217 285)
 2    Ralph A. Kottke (Bar No. 287363)
      LIPELES LAW GROUP, APC
 3    880 Apollo Street, Suite 336
      El Segundo, California 90245
 4    Telephone: (310) 322-2211
      Fax: (310) 322-2252
 5
      Attorneys for Claimant,
 6
      BRENT LINDSEY
 7

 8                          AMERICAN ARBITRA TYONASSOCIATION
 9                                                   AAA CASE NO. 01-19-0004-6106
     BRENT LINDSEY, an individual,
10
                        Claimant,                    NOTICE OF MOTION AND
11                                                   MEMOMORANDUM IN SUPPORT OF
     vs.                                             MOTION TO COMPEL RESPONSES
12                                                   TO SPECIAL INTERROGATORIES
13   TRAVELERS COMMERCIAL                            (SET TWO ) AND TO REQUEST FOR
     INSURANCE COMPANY, a Connecticut                PRODUCTION OF DOCUMENT (SET
14   corporation; TRAVELERS CASUALTY                 TWO)
     INSURANCE COMP ANY OF AMERICA,
15   a Connecticut corporation, PEGGY                The Honorable David Freedman
16   STEPHENS, an individual; and DOES 1
     through I 00, inclusive,                        Date: December 23, 2020
17                                                   Time: 8:30 a.m.
                    Respondents.                     Via Video Conference
18

19
            PROPOUNDING PARTY:                BRENT LINDSEY
20
            RESPONDING PARTY:                 TRAVELERS INDEMNITY COMP ANY
21
            SET NO.:                          ONE
22

23
     TO ALL PARTIES AND THEIR ATTORNEYS:
24
            PLEASE TAKE NOTICE that on December 23, 2020 at 8:30LEASE TAKE NOTICE
25
     that Claimant Brent Lindsey or as soon thereafter as the matter can be heard will move that the
26
     Arbitrator order the response to special inteJTogatory and the request for production of docu-
27
     ments requested below.
28

                                                                                                       1
      NOTICE OF MOTIOBN AND MEMORADUM IN SUPPORT OF MOTION TO COMPEL RESPONSES
        TO SPECIAL INTERROGATORIES AND REQUESTY FOR PRODUCTION OF DOCUMENTS
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 84 of 118



 1
                                       STATEMENT OF FACTS
 2
            The Claimant Brent Lindsey worked as a Claims Representative for the Respondent
 3
     from 2011 to his termination in 2019. During this time Respondent discriminated against Mr.
 4
     Lindsey in pay based on being an African American.
 5
            About 2014 he learned he was being underpaid in talking with Caucasian claims
 6
     representatives [Ex I: Claimant's Responses to Form Interrogatories from Respondent (Set
 7
     One), page 5, line 20, 27-28 page 6, lines 1-2.] In 2015, upset about his pay, he spoke with
 8   Kristen Brimmer. As Loss Coordinator, Ms. Brimmer had access to pay records of all
 9   adjusters. She told Mr. Lindsey that he was making about $60,000 while Caucasian employees
10   with no greater experience were making $90,000 to $100,000. [Ex. I: Claimant's Responses to
11   Form Interrogatories (Set One) page 6, lines 5-8]
12         Mr. Lindsey needs to obtain documentation of Caucasian pay records to further
13   substantiate his claims. Respondent has this data and has a duty to produce it.
14                                          MEMORANADUM
15         WHERE CLAIMANT ALLEGES RACIAL DISCRIMINATION RESULTING
16   LOSS OF INCOME, HE IS ENTITLED TO OBTAIN COMPARATIVE PAY
17   RECORDS TO SUPPORT HIS CASE
18         Mr. Lindsey is entitled to discover pay records of his Caucasian counterparts at
19   Respondent's company. According to the California Code of Civil Procedure, "Unless
20   otherwise limited by order of the court in accordance with this title, any party may obtain
21   discovery regarding any matter, not privileged, that is relevant to the subject matter involved

22   in the pending action or to the determination of any motion made in that action, if the matter

23   either is itself admissible in evidence or appears reasonably calculated to lead to the discovery

24   of admissible evidence." CCP 2017.010

25         In his complaint Mr. Lindsey demands compensation for loss of income due to

26   Respondent's racial discrimination against him in pay [Ex I: Claimant's Responses to Fonn

27   Interrogatories from Respondent (Set One), page 5, line 20, 27-28 page 6, lines 1-2.] To

28

                                                                                                         2
     NOTICE OF MOTIOBN AND MEMORADUM IN SUPPORT OF MOTION TO COMPEL RESPONSES
       TO SPECIAL INTERROGATORIES AND REQUESTY FOR PRODUCTION OF DOCUMENTS
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 85 of 118


1
     support his case, he needs documentation of comparative pay between Caucasians and African
2
     Americans. Respondent has that documentation yet has refused to provide it..
3
           It is an easy matter for Respondent to provide that information. Mr. Lindsey seeks
4
     comparative pay data of the other claims representatives in the Northern California Outside
5    Property Claim Representative Section. There are only about 30 such representatives. (Ex. F:
6    Deposition of David Gosney, page 30. Lines 2 to 7 November 18, 2020). Each employee's
7    salary is recorded in a file called "Workforce Job Summaries." (See Ex G Mr. Lindsey's salary
8    in 2018 produced by Respondent). Respondent undoubtedly has a corresponding record for
9    other claims representatives.
           Respondent also has files with employee's W-2s. (See Ex. H for Mr. Lindsey's W-2
11   produced by Respondent). Certainly, Caucasian employees'W-2 are similarly filed. The salary
12   data needs to be produced in response to Mr. Lindsey's Special Interrogatory (Set Two) and
13   the W-2s in the Request for Production of Documents Set Two. Respondent may redact third
14   parties' identities where needed.
15         There is no need to clarify which employees are African American and which are not.
16   It is established that there were only two African American claims representatives in the
17   section in 2018. (Deposition of David Gosney, page 33. Lines 13-25 and page 34, line I

18   November 18, 2020) So it can be safely assumed that all but two records of pay will be for

19   Caucasian or otherwise non-African American.

20          Mr. Lindsey is only seeking the data for one year, 2018. Consequently, Respondent can

21   easily provide this data with a simple access of its computer records for one year in its own

22   local district of Northern California.

23          Claimant Brent Lindsey has met and conferred with Respondent to no avail.

24          Mr. Lindsey thus respectfully requests that Respondent be ordered to answer the

25   requested interrogatory and to produce the requested documents.

26

27

28
                                                                                                     3
     NOTICE OF MOTJOBN AND MEMORADUM IN SUPPORT OF MOTION TO COMPEL RESPONSES
       TO SPECIAL INTERROGATORIES AND REQUESTY FOR PRODUCTION OF DOCUMENTS
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 86 of 118



 1
                                    LIPELES LAW GROUP, APC
 2
     Date: December 17, 2020
 3

 4                                  By(5f~~
                                        Thomas.Schelly
 5                                      Ralph A. Kottke
                                        Attorneys for Claimant
 6                                      Brent Lindsey

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                                                4
     NOTICE OF MOTIOBN AND MEMORADUM IN SUPPORT OF MOTION TO COMPEL RESPONSES
       TO SPECIAL INTERROGATORJES AND REQUESTY FOR PRODUCTION OF DOCUMENTS
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 87 of 118




                              EXHIBITS
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 88 of 118



                           AMERICAN ARBITRATION ASSOCIATION



  BRENT LINDSEY,                                 CASE NO. 01-19-0004-6106

                 Claimant,                       CASE MANAGEMENT ORDER NO. 5

  V.

  TRAVELERS COMMERCIAL INSURANCE
  COMPANY, TRAVELERS CASUALTY
  INSURANCE COMPANY OF AMERICA,
  PEGGY STEPHENS,

                  Respondents.


        Based on my ruling granting respondents' motion for summary judgment, the evidentiary
hearing set on January 18-22 is cancelled and claimant's discovery motion submitted on December
21 is denied as moot. If a party wants an award issued based on my ruling, please notify me by
January 15. If an award is not requested by then, the AAA will proceed to close this matter.

       It is so ordered.

 Date: January 7, 2021                      Isl David G. Freedman
                                            Arbitrator
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 89 of 118




                            EXHIBITT
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 90 of 118



                        AMERICAN ARBITRATION ASSOCIATION
                         EMPLOYMENT ARBITRATION TRIBUNAL



  BRENT LINDSEY,                                    CASE NO. Ol-19-0004-6106

                  Claimant,                         RULING ON MOTION FOR
                                                    SUMMARY JUDGMENT
  V.

  TRAVELERS COMMERCIAL INSURANCE
  COMPANY, TRAVELERS CASUALTY
  INSURANCE COMPANY OF AMERICA,
  PEGGY STEPHENS,

                  Respondents.



       Respondents The Travelers Indemnity Company (Travelers) and Peggy Stephens have
moved for summary judgment. Claimant Brent Lindsey has opposed the motion. I have
considered the parties' written submissions and the oral argument presented on December 23,
2020, and grant the motion for the reasons set forth below.

       I.        CLAIMS

       Claimant's arbitration demand includes claims for violations of the Fair Employment and

Housing Act, wrongful termination of employment, and retaliation in violation of the Family

Medical Leave Act and the California Family Rights Act. The gravamen of his claims are his

allegations that he was subjected to a hostile work environment and discrimination due to his race,

national origin, and disability; that respondents failed to provide a reasonable accommodation for

his disability and to engage in the interactive process; and that he was discharged in violation of

public policy.

       II.       GROUNDS FOR MOTION

       Peggy Stephens asserts she is entitled to summary judgment because she was claimant's

supervisor and not his employer and did not engage in any form of unlawful harassment.
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 91 of 118



         Travelers asserts it is entitled to summary judgment because claimant cannot prove he

suffered an adverse employment action based on a protected status, suffered any form of unlawful

harassment, was denied a reasonable accommodation, or was discharged.

         III.    MATERIAL FACTS PRESENTED BY RESPONDENTS

         The evidence submitted in support of respondents' motion consists of excerpts of

claimant's deposition testimony and exhibits marked during his examination. 1 The facts relied

upon are listed in a separate statement of material facts. Claimant submitted a response to the

separate statement in which he identifies facts that are disputed and undisputed. The following is a

summary of the material facts both sides say are undisputed, plus facts that are disputed by

claimant but for which he cites evidence that does not create a triable issue.

         Claimant began working for Travelers in 2011. During his employment, claimant worked

in claims and was promoted from the operations division to the property division in January 2012,

and from an Inside Property Adjuster position to an Outside Property Adjuster position in March

2015. Claimant held the latter position until his employment ended in 2019.

         Claimant received overall performance ratings of "meets expectations" or "fully meeting

expectations" in each performance review he received. He received salary raises in January 2012,

October 2012, March 2015, October 2015, and April 2018. As a result ofthe raises, claimant's

annual salary increased from $44,000 when he was hired to $80,000 at the time his employment

ended.

         During his employment, claimant applied but was not selected for the positions of Risk

Control Associate, Outside Property CAT, Underwriting Trainee, Property Unit Manager, and

Technical Specialist. Claimant holds the opinion that his race was a reason he did not receive the

positions, but he admits he has no facts to show his race was a factor.

         Claimant adjusted claims assigned to him by loss coordinators Chris Bremmer and Melissa

Copeland. Neither person took any actions towards claimant based on his race. Claimant does not

recall any jokes or negative statements by any Travelers managers made to him or about him based

1
 Travelers submitted additional evidence with its reply brief. Claimant objected to the evidence and I have not
considered it.
                                                          2
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 92 of 118




on his race or national origin. Claimant also does not recall any managers making negative

statements, comments, or jokes to him or in his presence about people with disabilities.

          Ms. Stephens became claimant's manager in 2014. Claimant states that during a one-on-

one meeting in February 2014, Ms. Stephens made "unfounded accusations" against him and used

body language and a tone of voice that "indicated she did not care," all because of his race.

Claimant further states that in February 2014, because of his race, Ms. Stephens embarrassed him

in front of colleagues at a meeting by "calling" him out for sleeping when he was not. Claimant

also states Ms. Stephens had a "vendetta" against him because he chose not to socialize or engage
in work banter.

          On February 28, 2014, claimant emailed HR managers Cheryl Allan and Rosalind Baker to

report Ms. Stephens was harassing him. Allan met with claimant on March 3, 2014. After the

meeting, claimant had no problems with Ms. Stephens for three to six months but states she began

harassing him again by not giving him help with his work and not paying him fairly. Stephens also

made unspecified comments about the "demographics" of people who lived in "less affluent
areas."

          David Gosney became claimant's manager in December 2018. On January 24, 2019,

claimant requested a leave of absence from January 28 to April 21, 2019, due to an unspecified

health condition. Travelers granted the request and designated it as FMLA and CFRA leave. It

did not ask claimant to disclose the nature of his health condition.

          On April 21, 2019, Travelers sent a letter to claimant stating that as of that date he had

"exhausted his job-protected FMLA/CFRA leave" and to contact the company if he had any

questions. The letter did not say that claimant's employment was terminated. Claimant did not

contact the company for clarification of anything in the letter.

          Claimant returned to work on April 23, 2019. He did not request any accommodations on

his return. On April 24, claimant felt Mr. Gosney spoke to him in a "condescending" manner

about how Travelers operates and told him to go on the computer and start taking claims. As a



                                                     3
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 93 of 118



result, on April 25 he told Mr. Gosney he was resigning from his employment and would work two

more weeks.

        Claimant gave this testimony about why he resigned: "My initial return to work, first day

back to work I did not receive anything. Second day is when this conversation occurred with Mr.

Gosney. At that point is when I explained to him that the way they were treating me was not

correct, therefore I do not want to deal with this. Therefore I give two weeks notice, and after I

gave my two weeks notice is when I was bombarded with claims."

        Mr. Gosney asked claimant if he needed anything during his remaining two weeks and

claimant did not request any accommodations. Claimant worked on April 26 and was hospitalized

on April 27. He did not return to work and his employment ended on May 8, 2019.

        On July 23, 2019, claimant filed an administrative complaint with the California

Department of Fair Employment and Housing alleging discrimination, harassment, retaliation,

wrongful termination, and related claims and obtained an immediate right-to-sue notice.

        IV.      MATERIAL FACTS PRESENTED BY CLAIMANT

        Claimant submitted a separate statement in which he identifies facts he contends raise

disputed issues of material fact. The supporting evidence he cites is in his 2-page declaration and

excerpts of his deposition testimony and interrogatory responses, deposition testimony of Cheryl

Allan, Peggy Stephens and David Gosney, the declaration of Abie Kamara, and various

documents. 2 The following is a summary of the facts for which claimant has provided evidentiary

support in addition to the undisputed facts summarized above.

        Ms. Stephens became claimant's Field Property Lead Manager on or about 2014. She is

Anglo-American or white and talked to claimant in an unspecified way that showed she considered

him inferior due to his race. Once in a meeting of thirty to forty people, Ms. Stephens yelled

across the room to claimant, "You are sleeping." Claimant was not sleeping and was humiliated.

        When an outside position opened in 2015, Ms. Stephens did not offer claimant the job he


2
  The Kamara declaration states she worked at Travelers from 2011 to 2015 and purports to describe events involving
her supervisor at unspecified times. The declaration consists of statements and unsupported conclusions about things
that are not relevant to the claims in this case and is insufficient to raise any triable issues of material fact.
                                                          4
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 94 of 118



wanted Sacramento near his home. She directed that he be assigned to the Bay Area, which

required that he move.

        Ms. Stephens continued to be an executive until the end of claimant's employment. She did

not contact claimant during his 2019 medical leave and did not contact him after he said he was
resigning.

        Claimant's declaration states his conclusion that he was "qualified" for various positions he

applied for during his employment and did not receive due to his race. Claimant's opposition does

not include any evidence that corroborates or supports this conclusion.

       Claimant never wanted to leave Travelers and intended to stay with the company when his

leave ended in April 2019. When claimant announced his resignation, Mr. Gosney made no effort

to find out what was wrong and do an interactive process or provide an accommodation.

       V.      ANALYSIS

               A.        Summary Judgment Standard

       Section 13 of the parties' arbitration agreement states: "The parties have the right to file

pre-hearing motions, including dispositive motions (e.g., dismissal or summary judgment), in a

form consistent with the Federal Rules of Civil Procedure. The arbitrator shall consider and rule on

such motions in advance of the commencement of the arbitration hearing, and such consideration

and ruling shall be consistent with the standards set forth in the Federal Rules of Civil Procedure."

       A motion for summary judgment should be granted when there is no genuine issue as to

any material fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.

56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986).

       The moving party must show that "under the governing law, there can be but one

reasonable conclusion as to the verdict." Anderson, 477 U.S. at 250. The moving party bears the

initial burden of identifying the elements of the claim or defense and evidence that it believes

demonstrates the absence of an issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 3 I 7, 323

(1986). Where the non-moving party has the burden at trial, however, the moving party need not

produce evidence negating or disproving every essential element of the non-moving party's case.

                                                  5
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 95 of 118




Celotex, 477 U.S. at 325. Instead, the moving party's burden is met by pointing out that there is an

absence of evidence supporting the nonmoving party's case. Id.; Horphag Research Ltd. v. Garcia

(9th Cir. 2007) 475 F.3d I 029, 1035.

          The burden then shifts to the non-moving party to show that there is a genuine issue of

material fact that must be resolved at trial. Fed. R. Civ. P. 56(c); Celotex, 477 U.S. at 324;

Anderson, 477 U.S. at 256. The non-moving party must make an affirmative showing on all

matters placed in issue by the motion as to which it has the burden of proof at trial. Celotex, 4 77

U.S. at 322; Anderson, 477 U.S. at 252. A genuine issue of material fact will exist "if the evidence

is such that a reasonable jury could return a verdict for the non-moving party." Anderson, 477 U.S.

at 248.

                 B.       Claims for Unlawful Discrimination

          Claimant's first and second causes of action allege unlawful discrimination based on race,

national origin, and disability by Travelers. 3 To establish these FEHA claims, claimant must prove

that Travelers discharged or subjected him to another adverse employment action and that his race,

national origin, or disability were substantial motivating reasons for the discharge or adverse

employment action. (CACI No. 2500; Judicial Council of California Civil Jury Instructions (2019

edition.))

          There is an adverse employment action if an employer has taken an action that "taken as a

whole, materially and adversely affected the terms, conditions, or privileges of' an employee's

employment.      A "substantial motivating reason" is a reason that actually contributed to the

discharge or adverse employment action. (CACI No. 2507 .)

          In his first cause of action for disability discrimination, claimant alleges that Travelers

terminated his employment due to his physical disability. lt is apparent that claimant bases this on

the theory of constructive discharge.




3
 Every claim is claimant's complaint is alleged against Travelers and Ms. Stephens. During the hearing of the
motion, claimant's counsel stated that claimant is not pursuing any claims against Ms. Stephens except the claim for
unlawful harassment.
                                                          6
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 96 of 118



       To establish constructive discharge, claimant must prove that respondent, through its

officers, directors, managing agents, or supervisory employees "intentionally created or knowingly

permitted working conditions to exist that were so intolerable that a reasonable person in

[claimant's] position would have had no reasonable alternative except to resign. In order to be

sufficiently intolerable, adverse working conditions must be unusually aggravated or amount to a

continuous pattern. In general, single, trivial, or isolated acts of misconduct are insufficient to

support a constructive discharge claim." (CACI No. 2510; Judicial Council of California Civil

Jury Instructions (2019 edition.))

       Claimant's opposition argues that he was constructively discharged because Traveler's sent

the April 21 letter telling him his leave was no longer job-protected and he reasonably interpreted

the letter to mean he could be terminated immediately unless he showed up for work. He further

argues that when he returned to work Mr. Gosney spoke to him condescendingly when instructing

him on company procedures, only made perfunctory inquiries about how he was doing, and loaded

him with work, and these things caused stress and made him resign.

       As noted above, the facts show claimant requested and was granted a leave until April 21.

The April 21 letter stated that as of that date he had "exhausted his job-protected FMLA/CFRA

leave" and to contact the company if he had any questions. Claimant has not cited anything in the

letter that was factually or legally incorrect. The letter did not say that claimant's employment was

terminated or include any statements that threatened termination. Claimant did not contact the

company for clarification of anything in the letter. Claimant testified that he was given no work on

his first day back and was he was "bombarded with claims" after he submitted his resignation on

his second day back.

        These facts fail to show that Travelers intentionally created conditions so intolerable that a

reasonable person in claimant's position would have had no reasonable alternative except to

resign. There is nothing in the April 21 letter that would have caused a reasonable person to

believe he had no alternative except to resign. In fact, claimant must not have had that belief

because he did not resign when he received the letter; he returned to work. Thus, the letter did not

                                                    7
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 97 of 118




force him to resign and no reasonable employee could have felt forced to resign due to the contents

of the letter. The facts also show that claimant did not resign because he was "bombarded with

claims." He testified that happened after he submitted his resignation, not before.

       Claimant's testimony describes nothing about the behavior of Mr. Gosney in April 2019

that a reasonable person would have considered intolerable. The statements claimant found

condescending were isolated, not aggravated, and not part of a continuous pattern.

       Accordingly,   r do not find there is any evidence to support a discrimination claim based on
the adverse action of the termination of claimant's employment.     Claimant has failed to meet his

burden to show that there is a genuine issue of material fact as to that issue.

       In his second cause of action for race and national origin discrimination, claimant does not

allege a specific adverse action, but I assume he contends that he suffered an adverse action when

he was not selected after he applied for new positions, which is specifically alleged in his ninth

cause of action, in addition to being constructively discharged.

       Claimant's evidence shows he applied but was not selected for several positions during his

employment. He testified that his race was the reason he did not receive the positions, but he

admits he has no facts to show his race was a factor. He also has not submitted any evidence that

describes his qualifications for any position he sought, identifies the person or persons who made

the decision not to grant his applications, or describes any facts to support his conclusion or prove

that his race was a factor.

        An employee's subjective beliefs in an employment discrimination case do not create a

genuine issue of fact. He must provide evidence relating to the challenged adverse action and the

motivation of the decision makers and prove a causal link between a prohibited motivation and the

adverse action. (Featherstone v. Southern California Permanente Medical Group (2017) 10

Cal.App.5th I 150, 1159 .) Claimant has failed to do so.

                C.      Claims for Unlawful Harassment

        Claimant's third and fourth causes of action allege unlawful harassment based on race,

national origin and disability by Travelers and Ms. Stephens. He specifically alleges that Ms.

                                                    8
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 98 of 118



Stephens created a hostile work environment by humiliating him in meetings and by making

frivolous accusations due to his race.

        To establish these FEHA claims, claimant must prove that he was subjected to unwanted

harassing conduct due to his race, national origin, or disability, that the harassing conduct was

severe or pervasive, and that a reasonable person in claimant's circumstances would have

considered the work environment to be hostile or abusive. (CACI No. 252 lA.) "Severe or

pervasive" means conduct that alters the conditions of employment and creates as hostile or

abusive environment. Factors to be considered include the nature of the conduct, how often and

over what period it occurred, and the extent to which it unreasonably interfered with an

employee's work performance. (CACI No. 2524.)

       Unlawful harassment includes verbal harassment such as "epithets, derogatory comments

or slurs on a basis" prohibited by the FEHA. (Cal. Code Regs., tit. 2, § l 1019(b)(2). However,

harassment that is occasional, isolated, or sporadic is insufficient. Claimant must show harassment

of a repeated, routine or generalized nature, especially when the harassing conduct is not severe.

(Lyle v. Warner Bros. Television Productions (2006) 38 Cal.4th 264, 283-285; Aguilar v. Avis Rent

A Car System, Inc. (1999) 21 Cal.4th 121, 130-131.)

       Claimant's testimony shows that Ms. Stevens talked to him in an unspecified way on

unspecified days that showed she considered him inferior due to his race, in 2014 humiliated him

in a meeting of thirty to forty people by yelling that he was sleeping, in 2015 did not offer him a

job he wanted in Sacramento, and on unspecified dates made unspecified comments about the

"demographics" of people who lived in "less affluent areas." This evidence does not raise a triable

issue of fact regarding unlawful harassment.

       Claimant's testimony does not describe facts that show Ms. Stephens said or did anything

towards claimant because of his race or motivated by racial bias. Claimant's subjective belief that

she considered him inferior due to his race is not sufficient to prove harassing conduct due to his   ('
race. More is required. Even if hostility towards claimant due to his race was the reason for Ms.

Stephens' conduct, the conduct claimant describes does not include evidence ofracial epithets,

                                                  9
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 99 of 118



racially derogatory comments, or racial slurs. It was not severe or pervasive unlawful harassment

in any sense and he has presented no evidence to support a finding that it altered the conditions of

employment and created a hostile or abusive environment.

               D.      Claim for Failure to Accommodate
       Claimant's fifth cause of action alleges a claim for failure to reasonably accommodate a

disability. To establish this FEHA claim, claimant must prove that he had a condition that limited a

major life activity, that he was able to perform his essential job duties with reasonable

accommodation for his condition, that respondent failed to provide reasonable accommodation for

his physical condition, and that failure to provide reasonable accommodation was a substantial

factor in causing harm. (CACI No. 2541.) Reasonable accommodation under means "a

modification or adjustment to the workplace that enables the employee to perform the essential

functions of the job held or desired." (NadafRahrov v. Neiman Marcus Grp., Inc. (2008) 166

Cal.App. 4th 952, 974.)

       Claimant's complaint alleges that in Apri I 20 I 9 he "requested that Defendants make a

reasonable accommodation for his physical disability so that he would be able to perform the

essential job requirements" and that respondent "refused said accommodation and refused to

discuss any other potential reasonable accommodation it might afford" to him.

       Claimant has presented no evidence describing his physical disability or the form of

reasonable accommodation recognized under the FEHA that he required to perform his essential

job duties when he returned to work in April 2019 and his testimony disproves the allegation that

he requested an accommodation that respondent failed to provide. When asked in deposition if he

requested any accommodations to perform his job when he returned to work in April 2019,

claimant gave these answers: "I did not ask for my accommodations when I returned to work at

that time" and "I did not ask for any accommodations." This unequivocal testimony defeats his

claim that respondent failed to reasonably accommodate a disability he had.




                                                   10
   Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 100 of 118




                E.      Claim for Failure to Engage in Interactive Process

         Claimant's sixth cause of action alleges that respondent to engage in a good faith

interactive process. To establish this FEHA claim, claimant must prove that he had a physical

condition known to respondent, that he requested that respondent make reasonable accommodation

for his physical condition, that he was willing to participate in an interactive process to determine

whether reasonable accommodation could be made so that she would be able to perform the

essential job requirements, and that respondent failed to participate in a timely good-faith

interactive process with him to determine whether reasonable accommodation could be made

(CACI No. 2546.)

         "Two principles underlie a cause of action for failure to provide a reasonable

accommodation. First, the employee must request an accommodation. Second, the parties must

engage in an interactive process regarding the requested accommodation and, if the process fails,

responsibility for the failure rests with the party who failed to participate in good faith." (Gelfo v.

Lockheed Martin Corp. (2006) 140 Cal.App.4th 34, 54, internal citations omitted.)

         When asked ifhe requested any accommodations to perform his job when he returned to

work in April 2019, claimant gave these answers in his deposition: "l did not ask for my

accommodations when I returned to work at that time" and "f did not ask for any

accommodations." This testimony defeats his claim that respondent failed to engage in a good faith

interactive process. The duty to do so never arose because claimant never requested an

accommodation.

                F.      Claim for Retaliation

         Claimant's seventh cause of action alleges unlawful retaliation. To establish this FEHA

claim, claimant must prove that he engaged in a form of protected activity, that respondent

discharged or subjected him to another adverse employment action, and that his protected activity

was a substantial motivating reason for the discharge or adverse employment action. (CACI No.

2505.)

         Claimant's complaint alleges that his disability, race, and national origin "were the

                                                    11
   Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 101 of 118




reasons" respondent retaliated against him. The complaint does not allege he suffered retaliation

for engaging in any form of protected activity and he has not presented evidence that raises a

disputed issue of fact on that issue.

       Claimant's retaliation claim fails because he has not alleged, and his evidence does not

show, he engaged in any protected activity that motivated any adverse employment actions taken

against him.

                G.      Claim for Failure to Prevent Retaliation

        Claimant's eighth cause of action alleges a failure to prevent unlawful retaliation. Claimant

cannot prevail on this claim because his retaliation fails. (Dickson v. Burke Williams, Inc. (2015)

234 Cal.App.4th 1307, 1314.)

                H.      Claim for Failure to Promote

        Claimant's ninth cause of action alleges he was denied promotions and raises due to his

race and national origin. As with his discrimination claims, to establish this FEHA claim, claimant

must prove that respondent denied him a promotion or raise and that his race or national origin

were substantial motivating reasons for those decisions.

        As discussed above, claimant's evidence shows he applied but was not selected for several

positions during his employment. His evidence does not describe his qualifications for any

position he sought, does not identify the person or persons who made the decision not to grant his

applications, and does not describe any facts to support his allegation that his race was a factor.

He admits he has no facts to show his race was a factor and rests on his uncorroborated opinion

that his race was a reason he did not receive the positions. Claimant's subjective belief that his

race was a reason he was not selected is insufficient to raise a triable issue.

        Claimant's salary was raised in January 2012, October 2012, March 20 I 5, October 2015,

and April 2018. His complaint does not allege and his evidence does not describe a time when he

should have received a raise but did not or show any facts to support his allegation that race was

ever a factor in his compensation. Claimant's subjective belief that his race was a reason he did

not receive a raise is insufficient to raise a triable issue.

                                                      12
  Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 102 of 118




        I tind claimwll had not shlrn n that there is u genuine issue ormaterial fact concerning the

discrimination alkged in his ninth cause of action.

                I.      Claim for \Yrongful Tennination

       Clainwnt ·s 1,:nth cause oractilln alkgcs that rcspomknt cons1n1eti, cl: tL·nninatL·Jhis

employment in ,·i11l:1tionorpublic policy. This claim fail-; hL·c;1usc.as discussL·d abllve. the facts

presented do not establish that re::;pondenl intentionally creah:d or knowingly pennittcd intolerable

conditions that Ii.need claimant 10 resign .

                .I.     Interference,, ith F.\ILA and CFR.-\ Lean

        Clairna111·sclc,·enth cause or action alleges rcspo11dc111
                                                                ,·iolatccl the Fi\·lLJ\ and (TRr\ b1

terminating his L'tnploymcnt ..on !\pril 21. 2U19. \\'hilc he was FiVtl.A/CFR.I\ lc:m:_·· This claim

foils because. as discussed abo,-,.~.the c,·idcnce sho\\·s that respondent did not tcn11i11a1e
                                                                                             claimant's

employment. The [1<.:tspresented do 1wt establish that respondent intentionally crcak·d or

kmm ingl: pcnnitted intolerable Cllllditiu11sthat forced claima1ll tn ,.,_~sign.

        VI.     COI\CLlJSlO~

        Respondents ha,·e met their burden by showing tlwt there is an absence orc,·idcncc

supporting claimant's case and that the: arc entitl~d to an :l\\:1rd in their fanir as a matter tit'la\\·.

Claimant has 1wt met his burden tl\ mak...:an artinnmin: slH1\\·ingn!' facts as to tl1llSeissucs tor

"hich he has thL·bun.kn or proor at trial. Thcrcrore. the 11Hllit111 ltir summary juJg111e111
                                                                                            is granted.




Datc: D..:ccmhcr 29. 2020
                                                 l)nYid u~FreL·dm;m
                                                 /\rhitrator
                                                                              -


                                                     13
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 103 of 118




                            EXHIBITU
           Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 104 of 118

TRAVELERS




Statement of Intent
Travelers values each of its employees and looks forward to good relations with, and among, all of its employees.
Occasionally, however, disagreements may arise between an individual employee and the Company, or between one
employee and another in a context that involves the Company. The Company believes that the resolution of such
disagreements will be best accomplished by voluntary pre-arbitration steps in the Internal Dispute Resolution Policy
("IDR"), and, where resolution is not achieved for any reason, by mandatory arbitration conducted under the auspices of
the American Arbitration Association (AAA). For these reasons, the Company has adopted this Arbitration Policy ("the
policy"). This policy is a binding contract that applies to Travelers and all persons employed by Travelers, including all
affiliate and subsidiary companies (collectively, "the Company").

This policy does not constitute a guarantee that employment will continue for any specified period of time or end only
under certain conditions. Employment with the Company is a voluntary relationship for no definite period of time and
nothing in this policy or any other Company document constitutes an express or implied contract of continuing
employment for any definite period of time. This policy does not constitute, nor should it be construed to constitute, a
waiver by the Company or an employee of their respective rights under the "employment at will" doctrine. However, this
policy is a contract binding both the employee and the Company regarding the formal resolution of disputes in
arbitration. All disputes covered by this policy will be decided by an arbitrator through arbitration and not by
way of court or jury trial.

Scope of the Policy
Except as it otherwise provides, this policy makes arbitration the required and exclusive forum for the resolution of all
past, present and future employment-related disputes based on 1ega11y     protected rights (i.e., statutory, contractual or
common law rights) that may arise by the Company against an employee and between an employee or former
employee and the Company or its current and former parents, subsidiaries and affiliates and its and their current and
former officers, directors, employees and agents (and that are not resolved by the voluntary internal dispute resolution
procedure), including without limitation contractual claims and claims, demands or actions under Title VII of the Civil
Rights Act of 1964, the Civil Rights Acts of 1866 and 1991, the Age Discrimination in Employment Act of 1967, the
Older Worker Benefit Protection Act of 1990, the Rehabilitation Act of 1973, the Americans with Disabilities Act of 1990,
the Family and Medical Leave Act of 1993, the Fair Labor Standards Act of 1938, the Fair Credit Reporting Act, the
Equal Pay Act of 1963, the Pregnancy Discrin:iin.ation Act, Genetic lnformatipn Nondiscrimination Act, the Worker
Adjustment and Retraining Notification Act, the Affordable Care Act, each as amended, and any other federal, state or
local statute, regulation or common law doctrine regarding employment discrimination, retaliation, whistle blowing,
conditions of employment or termination of employment. This policy is governed by the Federal Arbitration Act, 9 U.S.C.
§§ 1, et seq.

The Arbitrator, and not any federal, state, or local court or agency, shall have exclusive authority to resolve any dispute
relating to the interpretation, applicability, enforceability or formation of the agreement represented by this policy,
including, but not limited to any claim that all or any part of this policy is void or voidable. However, as stated in the
"Class and Representative Actions Waivers" section below, the preceding sentence will not apply to the Class Action
Waiver and/or Representative Action Waiver.

Unless otherwise stated herein, the only legal disputes not covered by the policy are claims that an employee or former
employee may have regarding:

   i.   Workers' compensation benefits;
  ii.   Unemployment compensation benefits;
 iii.   Benefit claims subject to the Employee Retirement Income Security Act of 1974 and all amendments thereto;
 iv.    Representative claims under California's Private Attorney General Act, unless and until applicable law allows for
        enforcement of Private Attorney General waivers in arbitration agreements governed by the Federal Arbitration


                                                              1
           Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 105 of 118

TRAVELERS
        Act;
  v.    Disputes that may not be subject to pre-dispute arbitration as expressly provided by Dodd- Frank Wall Street
        Reform and Consumer Protection Act or other controlling federal statutes or applicable and enforceable federal
        executive orders; and
  vi.   Any other claims that cannot be arbitrated as a matter of law.

Nothing in this policy shall prevent either party from seeking injunctive relief from any court of competent jurisdiction in
aid of arbitration or on the grounds that the award to which the applicant for such relief may be entitled may be
rendered ineffectual without such relief, such as provisional injunctive relief intended to redress a violation of a
covenant, including but not limited to, covenants with respect to intellectual property, confidentiality/non-disclosure, non-
solicitation and non- competition. A party's seeking or obtaining such relief shatl not be considered a waiver of that
party's right to arbitration under this policy. Nothing in this policy prevents employee from making a report to or filing a
claim or charge with a government agency, including without limitation the Equal Employment Opportunity Commission,
U.S. Department of Labor, U.S. Securities and Exchange Commission, National Labor Relations Board, or Office of
Federal Contract Compliance Programs. Nothing in this policy prevents the investigation by a government agency of
any report, claim or charge otherwise covered by this policy. This policy also does not prevent federal administrative
agencies from adjudicating claims and awarding remedies based on those claims, even if the claims would otherwise
be covered by this policy. To the extent an employee or former employee initiates such complaint, claim or action, either
before or after demanding arbitration, the arbitration will be stayed until the conclusion of the agency process to avoid
duplicate proceedings. Nothing in this policy prevents or excuses a party from satisfying any conditions precedent
and/or exhausting administrative remedies under applicable law before bringing a claim in arbitration. The Company will
not retaliate against employee for filing a claim with an administrative agency or for exercising rights (individually or in
concert with others) under Section 7 of the National Labor Relations Act.

This policy does not require that the Company institute arbitration or follow the steps of the _
       before taking disciplinary action of any kind, including termination. However, if an employee disagrees with any
such disciplinary action and believes that such action violated his/her legally protected rights, he/she may institute
proceedings in accordance with the Company's Internal Dispute Resolution policy. If for any reason resolution is not
achieved through these informal means, covered claims not otherwise excluded from mandatory arbitration will be
resolved through final and binding arbitration pursuant to this arbitration policy. Nothing in this provision shall be
construed to negate the mutuality of this agreement to arbitrate, and the Company explicitly agrees to arbitrate,
pursuant to this policy, any disputed disciplinary action after it has been taken. The results of the arbitration process are
final and binding on all parties.

Confidentiality
The Company and employee agree to maintain the confidentiality of the arbitration, except: (i) to the extent agreed upon
otherwise, (ii) as may be otherwise appropriate in response to a governmental agency or legal process, or (iii) as is
necessary to enforce, correct, modify or vacate the arbitrator's award.

Arbitration Rules and Procedures
The arbitration will be held under the auspices of the AAA, and except as provided in this policy, will be under the then
current Employment Arbitration Rules of the AAA ("AAA Rules") (the AAA Rules are available through the via the
internet at

1. Initiation of Arbitration Proceeding
The Company and employee agree that the aggrieved party must make a written request for arbitration of any claim to
the other party no later than the expiration of the statute of limitations (deadline for filing) that the applicable state or
federal law prescribes for the claim. However, if employee or the Company utilize the voluntary pre-arbitration steps in
the Travelers Internal Dispute Resol.ution Policy, the statute of I.imitation is tolled during the course of those processes.
In other words, if those processes are initiated, the deadline for the filing of claims proceeding in the IDR process, is
extended by the length of time it takes for those voluntary pre- arbitration processes to be conducted. Any written
request for arbitration to the Company will be made to the Executive Vice President, General Counsel by U.S. Mail or
hand delivery. A telephone call does not constitute notice for purposes of initiating an arbitration demand. Employee will
be given any written request for arbitration at the last home address employee provided in writing to Company. The
 request for arbitration shall include identification of the parties, a statement of the legal and factual basis of the claim( s),
and a specification of the remedy sought. The Arbitrator will resolve all disputes regarding whether the demand for
arbitration was proper and on time.

2. Appointment of Neutral Arbitrator

                                                                 2
            Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 106 of 118

TRAVELERS
The AAA shall appoint one neutral, arbitrator from its Employment Dispute Resolution Roster pursuant to the selection
process described below. It is the intent of the parties that the prospective arbitrators are neutral, experienced,
knowledgeable with respect to employment related claims, and duly qualified to serve as an arbitrator under the AAA's
Rules. The arbitrator shall be selected in the following manner:

    a) immediately after the filing of the demand, the AAA shall submit to each party an identical list of at least 10
       proposed arbitrators;
    b) each party shall then have 10 business days from the mailing date of the list to cross off up to three of the
       names, number the remaining names in order of preference and return the list to the AAA, or alternatively, each
       party shall have the right to request, no more than once in each case, that the AAA provide a different or
       expanded list of proposed arbitrators, which new list shall then be treated as stated above;
    c) if a party does not return the list within the time specified, all persons on the list shall be deemed acceptable to
       that party; and
    d) the AAA shall invite the acceptance of the arbitrators remaining on the list in the order of preference specified
       by the parties to the extent the order can be reconciled by the AAA.

In the event the parties fail to agree on any of the persons named, or if an acceptable arbitrator is unwilling to act, the
AAA shall issue additional lists. In the event of an impasse in the selection of an arbitrator after one additional list has
been provided, the AAA shall furnish an additional list of eleven (11) arbitrators from which the parties shall strike
alternately, with the party striking first to be determined by a coin toss, until only one name remains. That person shall
be designated as the Arbitrator.

3. Qualifications of Neutral Arbitrator
Unless the parties jointly agree otherwise, the arbitrator shall be either an attorney who is experienced in employment
law and licensed to practice law in the state in which the arbitration is convened or a retired judge from any jurisdiction.

4. Proceedings
The hearing shall be conducted by the arbitrator in whatever manner will most expeditiously permit and allow the parties
to develop their respective claims and defenses and full presentation of evidence and arguments of the parties. After
consultation with the parties, the arbitrator shall set the date, time and place of the hearing, notice of which must be
given to the parties by the AAA at least 30 calendar days in advance unless the parties agree otherwise. In the event
the hearing cannot be completed in one day, the arbitrator will schedule the hearing to be continued on a mutually
convenient date.

5. Representation
Any party may be represented by an attorney or by himself/herself.

6. Confidentiality of and Attendance at Hearing
The arbitrator shall maintain the confidentiality of the hearings unless the law provides to the contrary, as determined by
the arbitrator. The arbitrator shall have the authority to exclude witnesses, other than a party, from the hearing during
the testimony of any other witness. The arbitrator shall also have the authority to decide whether any person who is not
a witness may attend the hearing.

7. Postponement
The arbitrator, for good cause shown, may postpone any hearing upon the request of a party or upon the arbitrator's
own initiative, and shall also grant such postponement when all of the parties agree thereto.

8. Oaths
The arbitrator may require a witness to testify under oath administered by any duly qualified person and, if it is required
by law or requested by any party, shall do so.

9. Stenographic Record
There shall be no stenographic record of these proceedings unless either party requests it. In the event a party requests
a stenographic record, that party shall bear the cost of such a record. The arbitrator will resolve any disputes regarding
apportionment of costs of the stenographic record.

10. Arbitration in the Absence of a Party


                                                                3
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 107 of 118




                            EXHIBIT V
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 108 of 118




      Err1 lovmen
      ArbitrationRulesand MediationProcedures




      -           AMERICAN ARBITRATION ASSOCIATION'




      Availableonline at adrorg/cmployrnent

      Rules Amended and Effective November 1, 2009
      Introduction RevisedOctober 1, 2017
                     Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 109 of 118
      xiii. the specification of undisclosed claims;

      xiv. the extent to which documentary evidence may be submitted at the hearing;

      xv. the extent to which testimony may be admitted at the hearing telephonically,
           over the internet, by written or video-taped deposition, by affidavit, or by any
           other means;

      xvi. any disputes over the AAA's determination   regarding whether the dispute
           arose from an individually-negotiatec:l employment agreement or contract, or
           from an employer plan (see Costs of Arbitration section).


 The arbitrator shall issue oral or written orders reflecting his or her decisions on
 the above matters and may conduct additional conferences when the need arises.


 There is no AAA administrative fee for an Arbitration              Management           Conference.




 The arbitrator shalJ have the authority to order such discovery, by way of
 deposition,         interrogatory, document production,      or otherwise, as the arbitrator
 considers necessary to a full and fair exploration          of the issues in dispute,
 C:)~sistent with the expedited         nature of arbitration.


 The AAA does not require notice of discovery related matters and communications
 unless a dispute arises. At that time, the parties should notify the AAA of the
 dispute so that it may be presented to the arbitrator for determination.

 1,). :-=,xm~
           :iLc.c I_ ,c11: (.,,Y, CL lil,y, '.:lJL~. k,,;   r;,y, .,no1,:,r r.m•,•tr')i ()~ "'-
 /\ L·,,itr.'.1c1)


 If the parties disagree as to the locale, the AAA may initially determine the place
 of arbitration, subject to the power of the arbitrator(s), after their appointment                           to
 make a final determination          on the locale. All such determinations           shall be made
 having regard for the contentions of the parties and the circumstances of the
 arbitration.

 11. D, 1c, T;me and Plact.. !the pl ys,col Sit, of t 110 I ,evnn~) . :,1inth:? de, gnvtC .J
 :ocalc) of Hean 19


 The arbitrator shall set the date, time, and place for each hearing. The parties
 shall respond to requests for hearing dates in a timely manner, be cooperative in
 scheduling the earliest practicable date, and adhere to the established hearing
 schedule. The AAA shall send a notice of hearing to the parties at least 10 days in
 advance of the hearing date, unless otherwise agreed by the parties.
14   RULES ANO MEDIATIONPROCEDURES                                                   Amencan Arb1lrillt1onAssoc1at1on
Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 110 of 118




                              EXHIBITW
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 111 of 118




                       AMERICANARBITRATIONASSOCIATION
                        EMPLOYMENTARBITRATIONTRIBUNAL


  BRENT LINDSEY,                                 CASE NO. 01-19-0004-6106
                Claimant,                        FINAL AWARD
  V.

  TRAVELERSCOMMERCIALINSURANCE
  COMPANY,TRAVELERSCASUALTY
  INSURANCECOMPANYOF AMERICA,
  PEGGY STEPHENS,

                Respondents.



Arbitrator:                 David G. Freedman
                            1999 Avenue of the Stars, Suite I 100
                            Los Angeles, California 90067

Appearances:

       For Claimant:        Ralph A. Kottke
                            Thomas H. Schelly
                            Lipeles Law Group, APC
                            880 Apollo Street, Suite 336
                            El Segundo, California 90245


       For Respondents:     Nicole F. Dailo
                            Joel O'Malley
                            Nilan Johnson Lewis PA
                            120 South Sixth Street, Suite 400
                            Minneapolis, Minnesota 55402
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 112 of 118




        I, THE UNDERSIGNED ARBITRATOR, having been designated in accordance with the

agreement entered by the above-named parties, and having been duly sv.iorn and having duly heard

the proofs and allegations of the parties, AW ARD as follows:

        On December 23, 2020, I heard the summary judgment motion made by respondents The

Travelers Indemnity Company and Peggy Slephens. 1 After considering the v,1rittcn submissions

and oral arguments or the parties, I found that respondents met their burden of showing that there

is no genuine dispute as to any material fact and they are entitled to an award in their favor as a

matter of law and that claimant did not met his burden lo present specific facts showing that there

is a genuine issue for trial. I issued a ruling dated December 29, 2020. granting the motion.

Thereafter, respondent made a written motion for allorney·s fees. I read and considered the papers

submitted in support and opposition to the motion and the argument presented at a hearing on

February 18. 2021. and issued a ruling denying the motion. I now make this Final J\ ward.

                                                      AWARD

        The claims of Brent Lindsay arc denied.

        The administrative fees and expenses or the American Arbitration Association totaling

$2,950.00 and the compensation of the arbitrator totaling $15. 736.50 shall be borne as incun-ed.

        This Award is in full settlement of all claims submiltcd to this Arbitration. All claims not

expressly granted herein are hereby denied.


Date: March 3, 2021
                                                  David G. Freedman
                                                  Arbitrator




1
  Claimant dismissed Travelers Commercial Insurance Company and Travelers Casually Insurance Company of
America from this arbitration on May 12. 2020. The Travelers Indemnity Company was added as a respondent on
April 6, 2020.
                                                      2
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 113 of 118



                         AMERICAN ARBITRATION ASSOCIATION
                          EMPLOYMENT ARBITRATION TRIBUNAL



  BRENT LINDSEY,                                     CASE NO. 01-19-0004-6106

                  Claimant,                          RULING ON MOTION FOR
                                                     SUMMARY JUDGMENT
  V.

  TRAVELERS COMMERCIAL INSURANCE
  COMPANY, TRAVELERS CASUALTY
  INSURANCE COMPANY OF AMERJCA,
  PEGGY STEPHENS,

                  Respondents.



        Respondents The Travelers Indemnity Company (Travelers) and Peggy Stephens have
moved for summary judgment.      Claimant Brent Lindsey has opposed the motion. 1 have
considered the parties' written submissions and the oral argument presented on December 23,
2020, and grant the motion for the reasons set forth below.

        I.       CLAIMS

        Claimant's arbitration demand includes claims for violations of the Fair Employment and

Housing Act, wrongful termination of employment, and retaliation in violation of the Family

Medical Leave Act and the California Family Rights Act. The gravamen of his claims are his

allegations that he was subjected to a hostile work environment and discrimination due to his race,

national origin, and disability; that respondents failed to provide a reasonable accommodation for

his disability and to engage in the interactive process; and that he was discharged in violation of

public policy.

        11.      GROUNDS FOR MOTION

        Peggy Stephens asserts she is entitled to summary judgment because she was claimant's

supervisor and not his employer and did not engage in any form of unlawful harassment.
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 114 of 118




         Travelers asserts it is entitled to summary judgment because claimant cannot prove he

suffered an adverse employment action based on a protected status, suffered any fonn of unlawful

harassment, was denied a reasonable accommodation, or was discharged.

         III.     MATERIAL FACTS PRESENTED BY RESPONDENTS

         The evidence submitted in support of respondents' motion consists of excerpts of

claimant's deposition testimony and exhibits marked during his examination. 1 The facts relied

upon are listed in a separate statement of material facts. Claimant submitted a response to the

separate statement in which he identifies facts that are disputed and undisputed. The following is a

summary of the material facts both sides say are undisputed, plus facts that are disputed by

claimant but for which he cites evidence that does not create a triable issue.

         Claimant began working for Travelers in 2011. During his employment, claimant worked

in claims and was promoted from the operations division to the property division in January 2012,

and from an Inside Property Adjuster position to an Outside Property Adjuster position in March

2015. Claimant held the latter position until his employment ended in 2019.

         Claimant received overall performance ratings of "meets expectations" or "fully meeting

expectations" in each performance review he received. He received salary raises in January 2012,

October 2012, March 2015, October 20 I 5, and April 2018. As a result of the raises, claimant's

annual salary increased from $44,000 when he was hired to $80,000 at the time his employment

ended.

         During his employment, claimant applied but was not selected for the positions of Risk

Control Associate, Outside Property CAT, Underwriting Trainee, Property Unit Manager, and

Technical Specialist. Claimant holds the opinion that his race was a reason he did not receive the

positions, but he admits he has no facts to show his race was a factor.

         Claimant adjusted claims assigned to him by loss coordinators Chris Bremmer and Melissa

Copeland. Neither person took any actions towards claimant based on his race. Claimant does not

recall any jokes or negative statements by any Travelers managers made to him or about him based

1
 Travelers submitted additional evidence with its reply brief. Claimant objected to the evidence and I have not
considered it.
                                                          2
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 115 of 118




on his race or national origin. Claimant also does not recall any managers making negative

statements, comments, or jokes to him or in his presence about people with disabilities.

          Ms. Stephens became claimant's manager in 2014. Claimant states that during a one-on-

one meeting in February 2014, Ms. Stephens made "unfounded accusations" against him and used

body language and a tone of voice that "indicated she did not care," all because of his race.

Claimant further states that in February 2014, because of his race, Ms. Stephens embarrassed him

in front of colleagues at a meeting by "calling" him out for sleeping when he was not. Claimant

also states Ms. Stephens had a "vendetta" against him because he chose not to socialize or engage

in work banter.

          On February 28, 2014, claimant emailed HR managers Cheryl Allan and Rosalind Baker to

report Ms. Stephens was harassing him. Allan met with claimant on March 3, 2014. After the

meeting, claimant had no problems with Ms. Stephens for three to six months but states she began

harassing him again by not giving him help with his work and not paying him fairly. Stephens also

made unspecified comments about the "demographics" of people who lived in "less affluent

areas."

          David Gosney became claimant's manager in December 2018. On January 24, 2019,

claimant requested a leave of absence from January 28 to April 21, 2019, due to an unspecified

health condition. Travelers granted the request and designated it as FMLA and CFRA leave. It

did not ask claimant to disclose the nature of his health condition.

          On April 2 I, 2019, Travelers sent a letter to claimant stating that as of that date he had

"exhausted his job-protected FMLA/CFRA leave" and to contact the company if he had any

questions. The letter did not say that claimant's employment was terminated. Claimant did not

contact the company for clarification of anything in the letter.

          Claimant returned to work on April 23, 2019. He did not request any accommodations on

his return. On April 24, claimant felt Mr. Gosney spoke to him in a "condescending" manner

about how Travelers operates and told him to go on the computer and start taking claims. As a



                                                     3
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 116 of 118




result, on April 25 he told Mr. Gosney he was resigning from his employment and would work two
more weeks.

        Claimant gave this testimony about why he resigned: "My initial return to work, first day

back to work I did not receive anything. Second day is when this conversation occurred with Mr.

Gosney. At that point is when I explained to him that the way they were treating me was not

correct, therefore I do not want to deal with this. Therefore I give two weeks notice, and after I

gave my two weeks notice is when I was bombarded with claims."

        Mr. Gosney asked claimant if he needed anything during his remaining two weeks and

claimant did not request any accommodations. Claimant worked on April 26 and was hospitalized

on April 27. He did not return to work and his employment ended on May 8, 2019.

        On July 23, 2019, claimant filed an administrative complaint with the California

Department of Fair Employment and Housing alleging discrimination, harassment, retaliation,

wrongful termination, and related claims and obtained an immediate right-to-sue notice.

        IV.      MATERIAL FACTS PRESENTED BY CLAIMANT

        Claimant submitted a separate statement in which he identifies facts he contends raise

disputed issues of material fact. The supporting evidence he cites is in his 2-page declaration and

excerpts of his deposition testimony and interrogatory responses, deposition testimony of Cheryl

Allan, Peggy Stephens and David Gosney, the declaration of Abie Kamara, and various

documents. 2 The following is a summary of the facts for which claimant has provided evidentiary

support in addition to the undisputed facts summarized above.
        Ms. Stephens became claimant's Field Property Lead Manager on or about 2014. She is

Anglo-American or white and talked to claimant in an unspecified way that showed she considered

him inferior due to his race. Once in a meeting of thirty to forty people, Ms. Stephens yelled
across the room to claimant, "You are sleeping." Claimant was not sleeping and was humiliated.

        When an outside position opened in 2015, Ms. Stephens did not offer claimant the job he


2 The Kamara declaration states she worked at Travelers from 2011 to 2015 and purports to describe events involving

her supervisor at unspecified times. The declaration consists of statements and unsupported conclusions about things
that are not relevant to the claims in this case and is insufficient to raise any triable issues of material fact.
                                                               4
 Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 117 of 118




wanted Sacramento near his home. She directed that he be assigned to the Bay Area, which

required that he move.
       Ms. Stephens continued to be an executive until the end of claimant's employment. She did

not contact claimant during his 2019 medical leave and did not contact him after he said he was

resigning.

       Claimant's declaration states his conclusion that he was "qualified" for various positions he

applied for during his employment and did not receive due to his race. Claimant's opposition does

not include any evidence that corroborates or supports this conclusion.
       Claimant never wanted to leave Travelers and intended to stay with the company when his

leave ended in April 2019. When claimant announced his resignation, Mr. Gosney made no effort

to find out what was wrong and do an interactive process or provide an accommodation.

       V.      ANALYSIS

               A.        Summary Judgment Standard

       Section 13 of the parties' arbitration agreement states: "The parties have the right to file

pre-hearing motions, including dispositive motions (e.g., dismissal or summary judgment), in a

form consistent with the Federal Rules of Civil Procedure. The arbitrator shall consider and rule on

such motions in advance of the commencement of the arbitration hearing, and such consideration

and ruling shall be consistent with the standards set forth in the Federal Rules of Civil Procedure."

       A motion for summary judgment should be granted when there is no genuine issue as to

any material fact and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.

56(a); Anderson v. Liberty Lobby, inc., 477 U.S. 242, 247-48 (1986).

       The moving party must show that "under the governing law, there can be but one

reasonable conclusion as to the verdict." Anderson, 477 U.S. at 250. The moving party bears the

initial burden of identifying the elements of the claim or defense and evidence that it believes

demonstrates the absence of an issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323

(1986). Where the non-moving party has the burden at trial, however, the moving party need not

produce evidence negating or disproving every essential element of the non-moving party's case.

                                                  5
    Case 2:19-cv-01855-KJM-CKD Document 19-1 Filed 04/19/21 Page 118 of 118




Celotex, 477 U.S. at 325. Instead, the moving party's burden is met by pointing out that there is an

absence of evidence supporting the nonmoving party's case. Id.; Horphag Research Ltd. v. Garcia

(9th Cir. 2007) 475 F.3d I 029, I 035.

          The burden then shifts to the non-moving party to show that there is a genuine issue of
material fact that must be resolved at trial. Fed. R. Civ. P. 56(c); Celotex, 477 U.S. at 324;

Anderson, 477 U.S. at 256. The non-moving party must make an affirmative showing on all

matters placed in issue by the motion as to which it has the burden of proof at trial. Celotex, 4 77

U.S. at 322; Anderson, 477 U.S. at 252. A genuine issue of material fact will exist "if the evidence

is such that a reasonable jury could return a verdict for the non-moving party." Anderson, 477 U.S.

at 248.
                 B.       Claims for Unlawful Discrimination

          Claimant's first and second causes of action allege unlawful discrimination based on race,

national origin, and disability by Travelers. 3 To establish these FEHA claims, claimant must prove

that Travelers discharged or subjected him to another adverse employment action and that his race,

national origin, or disability were substantial motivating reasons for the discharge or adverse

employment action. (CACI No. 2500; Judicial Council of California Civil Jury Instructions (2019
edition.))

          There is an adverse employment action if an employer has taken an action that "taken as a

whole, materially and adversely affected the tenns, conditions, or privileges of' an employee's

employment. A "substantial motivating reason" is a reason that actually contributed to the

discharge or adverse employment action. (CACI No. 2507.)

          In his first cause of action for disability discrimination, claimant alleges that Travelers
terminated his employment due to his physical disability. It is apparent that claimant bases this on

the theory of constructive discharge.




3
 Every claim is claimant's complaint is alleged against Travelers and Ms. Stephens. During the hearing of the
motion, claimant's counsel stated that claimant is not pursuing any claims against Ms. Stephens except the claim for
unlawful harassment.
                                                          6
